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   16
   17
                              UNITED STATES DISTRICT COURT
   18
                            CENTRAL DISTRICT OF CALIFORNIA
   19
   20    In re: Illuminate Education Data        Case No. 8:22-cv-1164-JVS-ADSx
         Security Incident Litigation
   21
                                                 REDACTED VERSION OF
   22                                            CONSOLIDATED AMENDED
                                                 CLASS ACTION COMPLAINT
   23
                                                 FILED UNDER SEAL
   24                                            PURSUANT TO ORDER OF THE
                                                 COURT DATED JUNE 21, 2023
   25
                                                 DEMAND FOR JURY TRIAL
   26
   27
   28

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    1           Plaintiffs Lucas Cranor, Kristen Weiland, Anastasiya Kisil, Tara Chambers,
    2   Janene Vitro and Lorraine Deniz (“Plaintiffs”), by and through their attorneys,
    3   individually and on behalf of all others similarly situated, bring this Class Action
    4   Complaint (“Complaint”) against Defendant Illuminate Education, Inc. (“Illuminate”
    5   or “Defendant”) and make the following allegations based upon personal knowledge
    6   as to themselves and their own acts, and upon information and belief based on the
    7   investigation of counsel, as to all other matters, as follows:
    8                                       INTRODUCTION
    9           1.     This is not a run-of-the mill data breach case. This is a case involving a
   10   data breach                                      on Illuminate, a company that is in the
   11   for-profit business of storing minors’ immutable information such as economic
   12   status, birth dates, academic status, learning disability information, and other
   13   behavioral and health information. Where a cyberattack exposes this kind of
   14   information to criminal third-parties, and, where, as explained below, the company
   15   entrusted with such information failed to encrypt and safeguard that information, that
   16   company is liable under applicable legal precedent.
   17           2.     Illuminate is a software company focused on education that provides “a
   18   streamlined solution that helps educators to accurately assess learning, identify
   19   needs, align whole child supports, and drive school improvement in order to
   20   equitably accelerate growth for every learner.” 1
   21           3.     In 2019, Illuminate acquired another educational technology company,
   22   FastBridge Learning, and by January 2020, Illuminate was servicing 17 million
   23   students in 5,200 schools and districts across all 50 states.
   24           4.     Illuminate has several products currently at use in America’s schools
   25   that require the collection of students’ personal information, including but not limited
   26   to the following Illuminate platforms:
   27
   28   1
            See https://www.illuminateed.com (last visited May 30, 2023).
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    1                ➢     FastBridge, which can identify “students’ academic and social-
    2                      emotional behavior (SEB) needs faster, align the right
    3                      interventions at the right time, and measure whether interventions
    4                      are helping students catch up…”2;
    5                ➢     Data and Assessment (“DnA”), a standards-based assessment
    6                      creation administration solution…”3; and
    7                ➢     eduCLIMBER, an “[I]nteractive district-level to whole-child data
    8                      management that strengthens MTSS implementations, including
    9                      student need identification and intervention effectiveness.”4
   10         5.     Illuminate also offers popular platforms for districts and schools, such
   11   as Skedula, IO Classroom, and PupilPath.
   12         6.     These products collect, among other things, students’ attendance and
   13   grades, names, birth dates, class schedules, behavioral records, and health and socio-
   14   economic information such as whether they qualify for special education or free or
   15   reduced-price lunches.5 As part of its core business in providing education-related
   16   software, Illuminate also stores demographic information, including student names,
   17   mailing and email addresses, dates of birth, student education and behavioral records,
   18   health-related information, including student immunizations, and vision and hearing
   19   screening results, and system usernames and passwords. 6 Thus, the information the
   20   products collect is private, sensitive and immutable.
   21   2
          See https://www.illuminateed.com/products/fastbridge/ (last visited May 31,
   22   2023).
        3
          See https://www.illuminateed.com/products/dna/?utm_source=Website%3A+
   23   Main+Homepage&utm_medium=Website&utm_content=Learn+More+About+Dn
        A&utm_campaign=2020+Website+Updates (last visited May 31, 2023).
   24   4
          See https://www.illuminateed.com/products/educlimber/?utm_source=
   25   Website%3A+Main+Homepage&utm_medium=Website&utm_content=Learn+Mo
        re+About+eduCLIMBER&utm_campaign=2020+Website+Updates (last visited
   26   May 31, 2023).
        5
          See https://www.the74million.org/article/74-interview-cybersecurity-expert-levin-
   27   on-the-harms-of-student-data-hacks/ (last visited May 31, 2023).
        6
   28     See https://www.illuminateed.com/resources/security-privacy/ (last visited May
        31, 2023).
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    1         7.     Because of the largely sensitive and immutable information Illuminate
    2   was entrusted with and promised to protect, it had a duty to employ reasonable safety
    3   protections and procedures normally employed by similar companies in the industry.
    4   Illuminate also had a duty to protect this information from third parties under various
    5   statutes. As detailed below, Illuminate, because of its inadequate and lax security
    6   measures, breached these duties, resulting in Plaintiffs’ and class members’ sensitive
    7   information falling into the hands of cybercriminals.
    8         8.     Indeed, on or about January 8, 2022 Illuminate learned that the
    9   databases on which it maintained the personally identifiable information (“PII”) and
   10   other data for millions of students had been compromised by cybercriminals.
   11
   12
   13                                                    . However, this information was not
   14   disclosed to Plaintiffs and class members and Illuminate did not disclose the Data
   15   Breach to Plaintiffs and class members until at least three months after the Data
   16   Breach took place.
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   26                                                                                  . Yet, it
   27   was not until approximately April 2022 that Illuminate started to inform students and
   28   their parents about the data breach, and, even then, downplayed the seriousness of

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    1   the situation by merely telling them that certain of Illuminate’s databases containing
    2   their information were subject to “unauthorized access” between December 28, 2021
    3   and January 8, 2022.
    4
    5
    6                                                                         . 8 By keeping this
    7   information from the millions of victims of this data breach, Illuminate has deprived
    8   the victims of vital information about the situation and, accordingly, many may not
    9   take steps to adequately protect themselves from identity theft and other harms.
   10         11.    Additionally, as has been learned through discovery conducted to date,
   11   contrary to its obligations under various statutes, contracts with various school
   12   systems and expected practice of a company that gathers and maintains the type of
   13   sensitive personal information of minor students, Illuminate failed to encrypt such
   14   data and further, did not have in place appropriate and expected protocols concerning
   15   the ability to access the data that was subject to this data breach. The result being
   16   what happened here – one of the worst, if not the worst, data breaches ever committed
   17   concerning sensitive student data, which will put millions at risk for years to come.
   18         12.    Plaintiffs bring this class action alleging that Defendant’s conduct, as
   19   described more fully herein, caused Plaintiffs’ and Class Members’ Private
   20   Information to be exposed and stolen because of the failure of Defendant to safeguard
   21   and protect their sensitive information. Plaintiffs seek damages, and injunctive and
   22   other relief, on behalf of themselves and similarly situated consumers.
   23                                          PARTIES
   24         13.    Plaintiff Cranor is a resident of Colorado. Mr. Cranor received two
   25   notice letters from Illuminate dated April 29, 2022, stating that both of his children’s
   26   7
   27   8

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    1   Private Information was compromised by the Data Breach. Mr. Cranor’s children are
    2   minors who attend school in Colorado. Plaintiff is filing these claims as a real party
    3   in interest for himself and his minor children pursuant to Federal Rule of Civil
    4   Procedure 17(a)(1)(C).
    5         14.      Plaintiff Weiland is a resident of Colorado. Ms. Weiland received one
    6   or more notice letters from the Douglas County, Colorado school district, dated May
    7   4, 2022, stating that her child’s Private Information was compromised by the Data
    8   Breach. Ms. Weiland’s children are minors who attend school in Colorado. Plaintiff
    9   is filing these claims as a real party in interest for herself and her minor children
   10   pursuant to Federal Rule of Civil Procedure 17(a)(1)(C).
   11         15.      Plaintiff Kisil is a resident of New York. Ms. Kisil received a notice
   12   letter from the NYC Department of Education(“NYCDOE”) dated May 19, 2022,
   13   stating that her child’s Private Information was compromised by the Data Breach.
   14   Ms. Kisil’s child is a minor who attends school in New York. Plaintiff is filing these
   15   claims as a real party in interest for herself and her minor child pursuant to Federal
   16   Rule of Civil Procedure 17(a)(1)(C).
   17         16.      Plaintiff Chambers is a resident of California. Ms. Chambers received a
   18   notice letter from Illuminate dated July 29, 2022, stating that her child’s Private
   19   Information was compromised by the Data Breach. Ms. Chambers’ child is a minor
   20   who attends school in California. Plaintiff is filing these claims as a real party in
   21   interest for herself and her minor child pursuant to Federal Rule of Civil Procedure
   22   17(a)(1)(C).
   23         17.      Plaintiff Vitro is a resident of California. Ms. Vitro’s son received a
   24   notice letter from Illuminate dated July 29, 2022, stating that his Private Information
   25   was compromised by the Data Breach. Ms. Vitro’s son is disabled, and she is his
   26   legal guardian and legal representative. Her son attended school in California.
   27   Plaintiff is filing these claims as a real party in interest for herself and her son
   28   pursuant to Federal Rule of Civil Procedure 17(a)(1)(C).

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    1          18.       Plaintiff Deniz is a resident of California. Ms. Deniz received two notice
    2   letters from Illuminate dated July 15, 2022, stating that both of her children’s Private
    3   Information was compromised by the Data Breach. Ms. Deniz’ children are minors
    4   who attend school in California. Plaintiff is filing these claims as a real party in
    5   interest for herself and her minor children pursuant to Federal Rule of Civil Procedure
    6   17(a)(1)(C).
    7          19.       Defendant Illuminate Education, Inc., is a California corporation with
    8   its principal place of business in Irvine, California.
    9                                          JURISDICTION
   10          20.       This Court has jurisdiction over the subject matter of this action
   11   pursuant to 28 U.S.C. § 1332, as amended by the Class Action Fairness Act of 2005,
   12   because the matter in controversy exceeds $5,000,000, exclusive of interest and costs,
   13   and is a class action in which some members of the Class are citizens of different
   14   states than Defendant. See 28 U.S.C. § 1332(d)(2)(A). This Court has supplemental
   15   jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
   16          21.       This Court has personal jurisdiction over Illuminate Education, Inc.
   17   because it is headquartered in California, is authorized to and conducts business in
   18   California, has specifically marketed, advertised, and made substantial sales in
   19   California, and has sufficient minimum contacts with this state and/or sufficiently
   20   avails itself of the markets of this state through its promotion, sales, and marketing
   21   within this state to render the exercise of jurisdiction by this Court permissible.
   22          22.       Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because
   23   Defendant does substantial business in this District, has intentionally availed itself of
   24   the laws and markets within this District through its promotion, marketing,
   25   distribution and sales activities in this District, and a significant portion of the facts
   26   and circumstances giving rise to Plaintiffs’ Complaint occurred in or emanated from
   27   this District.
   28

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    1                                FACTUAL ALLEGATIONS
    2         23.    Illuminate touts that “[w]e protect your data like it’s our own.”
    3   Unfortunately for Plaintiffs and Class Members, nothing could be further from the
    4   truth. According to news reports, on January 8, 2022, Illuminate became aware that
    5   an unauthorized third party was able to gain access to databases of schools and had
    6   access to the personally PII9 and protected health information (PHI”) of the students
    7   (collectively, “Private Information”) maintained by Illuminate . 10
    8         24.    According to the Federal Trade Commission (“FTC”), PII is
    9   “information that can be used to distinguish or trace an individual’s identity, either
   10   alone or when combined with other information that is linked or linkable to a specific
   11   individual.”11 PHI is deemed private under the Healthcare Insurance Portability and
   12   Accountability Act of 1996 (“HIPAA”), 42 U.S.C. §§ 1320d, et seq., as well as
   13   multiple state statutes.
   14         25.    However, it was not until March 24, 2022, that Illuminate announced
   15   that it “became aware of suspicious activity in a set of isolated applications within
   16   their program [and] immediately took steps to secure the affected applications and
   17   launched an investigation with external forensic specialists to determine the nature
   18   9
          Personally identifiable information is information that can be used to distinguish
   19   or trace an individual's identity, either alone or when combined with other personal
        or identifying information that is linked or linkable to a specific individual…The
   20   definition of PII is not anchored to any single category of information or
        technology. Rather, it requires a case-by-case assessment of the specific risk that an
   21   individual can be identified. Non-PII can become PII whenever additional
        information is made publicly available, in any medium and from any source, that,
   22   when combined with other available information, could be used to identify an
        individual. 2 C.F.R. § 200.79.
        10
   23      See https://www.nydailynews.com/new-york/education/ny-hack-illuminate-
        online-gradebook-compromised-personal-data-20220325-
   24   ahy3b3b3t5cjzajau63muqcniq-story.html (last visited May 31, 2023); see also
        https://www.infosecurity-magazine.com/news/illuminate-breach-impacts-school/
   25   (last visited May 31, 2023).
        11
   26      See Federal Trade Commission Privacy Impact Assessment: Redress
        Enforcement Database (RED) at 3, n.3, FTC (June 2019), https://www.ftc.gov/
   27   system/files/attachments/privacy-impact-assessments/
        redress_enforcement_database_red_privacy_impact_assessment_june_2019.pdf.
   28   (last visited May 31, 2023).
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    1   and scope of activity.” 12
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    4         26.    Illuminate stated that its own investigation confirmed that “certain
    5   databases, containing potentially protected student information were subject to
    6   unauthorized access between December 28, 2021, and January 8, 2022” (the “Data
    7   Breach”). 13 It took Illuminate over nearly 4 months to notify those affected by the
    8   Data Breach and in some cases has taken almost 6 months.
    9         27.    The Data Breach occurred after an attacker accessed systems operated
   10   by and/or for Illuminate, a software platform designed for K-12 school districts that
   11   allows educators to track and report on a number of attributes, including grades,
   12   attendance and class schedules, as well as to communicate with parents. 14 Such a
   13   hack was foreseeable due to the vast trove of valuable personal information on
   14   America’s students contained therein and warnings from cybersecurity professionals.
   15         28.    Despite Illuminate’s investigation finding that “certain databases,
   16   containing potentially protected student information” had taken place between
   17   December 28, 2021, and January 8, 2022, Illuminate did not notify schools of the
   18   breach until late March 2022 at the earliest. 15 In fact, some Plaintiffs’ notification
   19   letters were dated July 29, 2022, over 4 months after Defendant purportedly
   20   concluded its investigation on March 24, 2022.
   21         29.    Cybercriminals unsurprisingly targeted a company in the business of
   22   storing sensitive personal information, including information protected by Family
   23   Educational Rights and Privacy Act (“FERPA”),
   24
        12
   25      See https://www.bankinfosecurity.com/illuminate-education-mega-breach-
        impacts-k-12-students-a-19032 (last visited May 31, 2023).
   26   13
           Id.
        14
   27      Id.
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   28      See https://www.infosecurity-magazine.com/news/illuminate-breach-impacts-
        school/ (last visited May 31, 2023).
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 7         30.
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11         31.    In fact, Mayor Eric Adams of New York City stated that Illuminate’s
12   delay in formally informing the city of the Data Breach “shows the company has been
13   more concerned with protecting itself than protecting our students”. 16 “We will not
14   tolerate bad actors in this city and plan to hold Illuminate fully accountable for not
15   providing our students with the security and timely notification the company
16   promised,” Adams stated. 17
17         32.
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25   16
        See https://www.nydailynews.com/new-york/education/ny-hack-illuminate-
     online-gradebook-compromised-personal-data-20220325-
26   ahy3b3b3t5cjzajau63muqcniq-story.html (last visited May 31, 2023).
     17
27      Id.
     18
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                                                                  .
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28        Id.
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 3            35.
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11            36.   As revealed by a breach notification letter sent by one of the numerous,
12   impacted school districts,                                                , and the dates
13   show a delay in notification:
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27   20
        Id.
28   21
        Id.
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 1          37.       Based on news reports and other sources noted herein, the compromised
 2   files and data included both personal and medical information not limited to names,
 3   birthdates, ethnicities, home languages, and student ID numbers of current and
 4   former students going back to the 2016-17 school year. 22 Other information, such as
 5   whether students get special education services, class and teacher schedules, and
 6   whether kids receive free lunch was also disclosed. 23 Academic and behavior
 7   information was also disclosed.24 Information such as this is immutable and highly
 8   sensitive.
 9          38.       According to reports, some districts and parents asked state and federal
10   authorities to investigate the Data Breach, accusing Illuminate of failing to take the
11   basic step of encrypting student data kept on its servers – even though the company
12   had previously told the districts it was meeting such legal requirements for data
13   protection. 25
14          39.       According to an expert who tracks school cybersecurity incidents, the
15   Data Breach is likely the largest ever single breach of student data. In reference to
16   the NYC school district, Doug Levin, the national director of K12 Security
17   Information Exchange, stated “I can’t think of another school district that has had a
18   student data breach of that magnitude stemming from one incident”. 26
19          40.       Defendant’s failure to ensure that its services and products were
20   adequately secure fell far short of its legal obligations and Plaintiffs’ and Class
21   Members’ reasonable expectations for data privacy, jeopardized the security of their
22
23   22
        Id.
     23
24      Id.
     24
25      See https://www.infosecurity-magazine.com/news/illuminate-breach-impacts-
     school/ (last visited May 31, 2023).
     25
26      See https://thejournal.com/articles/2022/05/17/illuminate-data-breach-spreads-to-
     fifth-state-as-oklahoma-city-notifies-parents.aspx (last visited May 31, 2023).
27   26
        See https://www.nydailynews.com/new-york/education/ny-hack-illuminate-
28   online-gradebook-compromised-personal-data-20220325-
     ahy3b3b3t5cjzajau63muqcniq-story.html (last visited May 31, 2023).
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 1   Private Information, violated applicable data privacy laws, and has put Plaintiffs’ and
 2   Class Members at imminent risk of fraud and identity theft.
 3         41.    Illuminate, a for-profit company that earns revenue through government
 4   contracts paid by taxpayers, failed to disclose that its data systems were not secure
 5   and, thus, vulnerable to attack. Had this been disclosed, Illuminate would have been
 6   unable to continue obtaining business from school districts and it would have been
 7   forced to adopt and invest in reasonable data security measures and comply with the
 8   law. Illuminate pledged to protect the Private Information of current and former
 9   students but chose to ignore this pledge and the existing law by skimping on the
10   security of its data systems. In fact, Illuminate retained former students’ Private
11   Information, for its own business purposes, longer than reasonably necessary and
12   failed to encrypt this information or delete it. It also failed to put in place adequate
13   and appropriate protocols for accessing the databases containing the information.
14         B.     Scope Of The Data Breach
15         42.    The Data Breach impacted students enrolled during the 2021-2022
16   school year in most cases but has also impacted at least some former students enrolled
17   as far back as 2016.27
18         43.    So far, the Data Breach has potentially affected well over 3 million
19   former and current students. The Data Breach has affected some of the largest school
20   districts in the nation which include districts in New York and California. In New
21   York alone, hundreds of schools throughout the state have been affected and over 1.9
22   million students have had their Private Information disclosed.28 School districts in
23   Colorado, California, Oklahoma, Washington, and Connecticut have also been
24   affected.29 In California, over 500,000 students from dozens of school districts have
     27
25      See https://thejournal.com/articles/2022/05/15/list-of-all-schools-confirmed-
     impacted-by-illuminate-education-data-breach.aspx (last visited May 31, 2023).
26   28
        Id.
     29
27      Id.; see also https://thejournal.com/articles/2022/05/17/illuminate-data-breach-
     spreads-to-fifth-state-as-oklahoma-city-notifies-parents.aspx (last visited May,
28   2023); https://www.the74million.org/article/after-huge-illuminate-data-breach-ed-
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 1   been affected by the Data Breach. 30 In Colorado, nine school districts with
 2   collectively over 140,000 students have been affected by the Data Breach. 31 In
 3   Washington, over 57,000 students have been impacted. 32 In Connecticut, four school
 4   districts with collectively over 10,000 students have been affected. 33 In Oklahoma,
 5   the Oklahoma City Public Schools with an enrollment of 34,000 students was
 6   affected.34 Unfortunately for schools and students across the country, more districts
 7   continue to find out that they have been affected by the breach. In addition, these
 8   numbers may not include former students who are no longer enrolled in the schools
 9   but were impacted by the Data Breach. Plaintiffs allege that millions of students have
10   been affected by this incident, from coast to coast in some of the largest school
11   districts in the nation.35
12          44.    In response to an email concerning the breach sent by Joanne Murphy,
13   Data Visualization Designer at the Douglas County School District in Colorado,
14   Adam Smith, Director of Customer Support at Illuminate stating that the scope of the
15   highly sensitive and immutable nature of the information exposed and compromised
16   by the Data Breach, included “Academic and Behavior” information concerning
17   techs-student-privacy-pledge-under-fire/ (last visited May 31, 2023).
     30
18      https://thejournal.com/Articles/2022/05/15/List-of-All-Schools-Confirmed-
     Impacted-by-Illuminate-Education-Data-Breach.aspx?Page=1 (last visited May 31,
19   2023).
     31
        See https://www.govtech.com/education/k-12/illuminate-education-data-breach-
20   exposes-student-information (last visited May 31, 2023); see also
21    (last visited May 31, 2023).
     32
        See https://thejournal.com/Articles/2022/05/15/List-of-All-Schools-Confirmed-
22   Impacted-by-Illuminate-Education-Data-Breach.aspx?Page=6 (last visited May 31,
     2023).
23   33
        See https://thejournal.com/Articles/2022/05/15/List-of-All-Schools-Confirmed-
24   Impacted-by-Illuminate-Education-Data-Breach.aspx?Page=2 (last visited May 31,
     2023).
     34
25      See https://thejournal.com/Articles/2022/05/15/List-of-All-Schools-Confirmed-
     Impacted-by-Illuminate-Education-Data-Breach.aspx?Page=6. (last visited May 31,
26   2023).
     35
27      See https://thejournal.com/Articles/2022/05/15/List-of-All-Schools-Confirmed-
     Impacted-by-Illuminate-Education-Data-Breach.aspx?Page=1. (last visited May 31,
28   2023).
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 1   students and “Student Demographic Information.” 36 This email was a summary of a
 2   formal letter that Illuminate claims they sent to the school on April 5, 2022, via First
 3   Class Mail that was not received as of the date of the email. As detailed below, per
 4   Mr. Smith’s April 13 email, there was unauthorized access to Academic & Behavior
 5   Information, including but not limited to students’ Graduation Status, GPA and
 6   Course Grades and behavior incidents, as well as sensitive and personal demographic
 7   information concerning students and their parents, including, but not limited to,
 8   students’ birth city, socio-economic disadvantaged information, parents’ highest
 9   level of education and parent home, work and cell numbers. Smith’s email to Murphy
10   states in part, the following:
11
           In summary of the letter, these were the impacted data categories for Douglas
12         County School District (meaning we determined there was unauthorized
13         access to data in the following categories):
           Student Data:
14
           Academic and Behavior Information
15
           Student Demographic Information
16
           Staff Data:
17
           Demographic Information
18
19         For the above categories, here are the potentially affected fields within each
           category. Please note that not all students or staff will have information in
20         every field – that depends on how your district was using the system:
21         Academic & Behavior Information
22         District Entry Date
           Gifted and Talented Indicator
23         School Entry Date
24         Graduation Date
           Graduation Status
25
           Graduation Service Hours
26         State School Entry Date
           US School Entry Date
27
28
     36
        Plaintiffs’ counsel obtained a copy of the April 13, 2022 email from Adam Smith
     to Joanne Murphy in response to a Freedom of Information Act request.
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 1         Site ID
 2         Next Site ID
           Homeroom
 3         College Bound Indicator
 4         Enrollment Entry Date
           Enrollment Entry Code
 5         Enrollment Exit Date
 6         Enrollment Exit Code
           Student Grade Level ID
 7         GPA
 8         Weighted Cumulative GPA
           Unweighted Cumulative GPA
 9         Course Grades
10         Transcript Grades
           Progress Grades
11         School Enrollment
12         Course Enrollment
           Period and Teacher associations
13         Incident Type
14         Incident
           Date
15
           Student Demographic Information
16         Student ID
17         Ethnicity/Is Hispanic Indicator
           Gender
18         Race
19         Primary Language Code
           Correspondence Language Code
20         Birth City
21         Birth State
           Birth Country
22         Residential Status Code
23         Military Family Indicator
           Lunch ID
24         NSLP Indicator
25         Socio-Economic Disadvantage Indicator
           Parent Highest Level of Education
26
           Parent First Name
27         Parent Last Name
           Parent Address 1
28
           Parent Address 2
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 1         Parent City
 2         Parent State
           Parent Zip
 3         Parent Cell Phone 1
 4         Parent Cell Phone 2
           Parent Home Phone 1
 5         Parent Home Phone 2
 6         Parent Work Phone 1
           Parent Work Phone 2
 7
           45.      Due to the extent and severity of the Data Breach, New York City
 8
     officials were outraged by the Data Breach and asked the New York attorney
 9
     general’s office and the F.B.I. to investigate (while doing their own investigation)
10
     and instructed New York City schools to stop using Illuminate. New York City
11
     Mayor Eric Adams stated that “Our students deserved a partner focused on having
12
     adequate security, but instead their information was left at risk.” 37 Mayor Adams
13
     further stated that his administration was working with regulators “as we push to hold
14
     the company fully accountable for not providing our students with the security
15
     promised.”38
16
           46.
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27      See https://www.nytimes.com/2022/07/31/business/student-privacy-illuminate-
     hack.html?searchResultPosition=7k. (last visited May 31, 2023).
28   38
        Id.
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 6         47.    According to a New York Times article dated July 31, 2022 on the Data
 7   Breach, (as well as other sources) “Illuminate kept student data on the Amazon Web
 8   Services online storage system.” Astonishingly, the same article noted that after the
 9   Data Breach and after Illuminate made representations that it was working with
10   outside experts to investigate the security incident and had made numerous security
11   upgrades and instituted third-party monitoring on all of its Amazon Web Services
12   (“A.W.S.”) databases, that Greg Pollock, the vice president for cyber research at
13   UpGuard, a cybersecurity risk management firm, during an interview on the
14   Illuminate Data Breach, was able to find one of Defendant’s A.W.S. buckets with an
15   easily guessable name and the reporter interviewing Pollock was able to find a second
16   A.W.S. bucket.
17                2.
18         48.    Sophisticated companies like Illuminate are aware of the different types
19   of threat actors acting across the Internet and the type of security scams they employ
20   for profit. Accordingly, it is imperative that, as a company specializing in and
21   profiting from providing data security services to others, it guards against such
22   attacks.
23         49.
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 3            64.

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25        See, e.g.,

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                                                     Footnote continued on next page
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 9         68.
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16         69.
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21         C.     Illuminate’s Privacy Policies
22         70.    Defendant promised to protect the Private Information and other data of
23   current and former students in the various and several school districts, in accordance
24   with the applicable Federal, State and local statutes and regulations, emphasizing its
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 1   purported commitment to protection of Private Information and other data on its
 2   website, contracts with school districts, the Pledge (discussed below), and elsewhere.
 3         71.    Defendant’s website claims:
 4
 5                We protect your data like it’s our own. In alignment with the Family
                  Educational Rights and Privacy Act (FERPA), we deploy meaningful
 6                safeguards to protect student data.
 7
                  We pledge our unwavering commitment to student data privacy.
 8
 9                We aim to give educators the confidence that all your data remains
                  secure when you use our site and services.
10
11                Whether collected directly from our Website or maintained on behalf of
                  your Educational Organization, protecting the privacy of your
12                information is important to us. We take security measures—physical,
13                electronic, and procedural—to help defend against the unauthorized
                  access and disclosure of your information. In addition to the restrictions
14                discussed in this Privacy Policy, our employees are required to comply
15                with information security safeguards, and our systems are protected by
                  technological measures to help prevent unauthorized individuals from
16                gaining access. The specific measures Illuminate takes to secure your
17                information are defined by the contract between Illuminate and your
                  Educational Organization. These measures meet or exceed the
18                requirements of applicable federal and state law. Illuminate’s employees
19                are trained to observe and comply with applicable federal and state
                  privacy laws in the handling, processing, and storage of your
20                information. 59
21         72.    In fact, in February of 2016, Illuminate signed a pledge to respect
22   student data privacy and to safeguard student information. The Student Privacy
23   Pledge (the “Pledge”) which was created in 2014 by the Future of Privacy Forum
24   (“FPF”) “incorporates the importance of protecting student personal data.”60
25
26   59
        See https://www.illuminateed.com/resources/security-privacy/. (last visited May
27   31, 2023).
     60
28      See Illuminateed.com/blog/2016/02/illuminate-signs-student-privacy-pledge/.
     (last visited May 31, 2023).
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 1          73.     When a company takes this pledge, they are “making a public statement
 2   of their practices with respect to student data…” The Student Privacy Policy Website
 3   states that “If a company acts in contradiction to their own public statements, they risk an
 4   enforcement action for ‘unfair or deceptive trade practices.’ This is known as FTC Section
 5   5 authority, which you can learn more about by visiting the FTC’s explanation.”61
 6          74.     Illuminate promised that it would protect students’ Private Information
 7   and failed to do so. On its website, it states that “Illuminate stores such information
 8   in locations outside its facilities, such as on servers…or with secure cloud-storage
 9   services”62:
10
11
12
13
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19          75.     Illuminate prides itself on an “unwavering commitment to student data
20   privacy” and promises to “deploy meaningful safeguards to protect student data.”
21          76.     In signing the Pledge, Illuminate represented to students and parents
22   that it would, (1) provide “a secure online environment with data privacy securely in
23   place.”; and (2) promote “that student data be safeguarded…” Additionally,
24   Illuminate states that “Sharing that Illuminate has signed the Student Privacy Pledge
25   61
        See https://thejournal.com/articles/2022/08/09/illuminate-education-booted-from-
26   student-privacy-pledge-referred-for-potential-ftc-state-ag-action.aspx. (last visited
     May 31, 2023).
27   62
        See https://www.illuminateed.com/resources/security-privacy/. (last visited May
28   31, 2023).
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 1   will give parents and educators confidence that data privacy safeguards are in place
 2   when using Illuminate!” 63
 3         77.      In fact, on August 8, 2022, the FPF announced that it had removed
 4   Illuminate from the nonprofit’s list of Student Privacy Pledge signatories as a result
 5   of the Data Breach. 64 This was the first time a company had been de-listed from the
 6   Pledge.65
 7         78.      The FPF had conducted a review of whether Illuminate’s data practices
 8   meet the requirements of the Student Policy Pledge and found “those practices
 9   lacking.” 66
10         79.      In addition, the FPF informed the NYAG of several failures by
11   Illuminate to provide information to the FPF which included the following:
12                FPF’s review included direct outreach to Illuminate
                  Education. In multiple communications with Illuminate, the
13                company would not state that it encrypted all student
14                information while at rest and in transit during the relevant
15                time periods. 67

16         80.      The FPF also informed the NYAG that “Illuminate did not provide any
17   meaningful non-public information to FPF during [FPF’s] review”. 68
18         81.      The FPF stated that “Publicly available information appears to confirm
19   that Illuminate Education did not encrypt all student information while at rest and in
20   transit.” This failure to encrypt the student records violate the following Pledge
21   commitments to:
               "maintain a comprehensive security program that is
22
     63
23      Id.
     64
24      See https://thejournal.com/articles/2022/08/09/illuminate-education-booted-from-
     student-privacy-pledge-referred-for-potential-ftc-state-ag-action.aspx (last visited
25   May 31, 2023).
     65
        Id.
26   66
        See Illuminate Education Booted from Student Privacy Pledge, Referred for
27   Potential FTC and State AG Action -- THE Journal. (last visited May 31, 2023).
     67
       FPF-000208.
28   68
        Id.
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 1                    reasonably designed to protect the security, confidentiality,
 2                    and integrity of Student PII - such as unauthorized access
                      or use, or unintended or inappropriate disclosure - through
 3
                      the use of administrative, technological, and physical
 4                    safeguards appropriate to the sensitivity of the information;
 5                    and
 6                    “comply with applicable laws," including New York state
                      law that explicitly requires data encryption. FPF noted that
 7
                      throughout “multiple communications with Illuminate, the
 8                    company would not state that it encrypted all student
 9                    information while at rest and in transit during the relevant time
                      periods.”69
10
                82.   In light of regulations about how children’s Private Information is
11
     collected and maintained, the companies providing the service of collecting and
12
     maintaining such information purport to understand this critical concern about the
13
     safe keeping of children’s data.
14
                83.   Illuminate touted its security, but it would not even verify to the FPF
15
     that Illuminate had taken the most basic protective action of encrypting the data.
16
     Illuminate signed the Pledge, violated it, and refused to cooperate with FPF in an
17
     investigation. The logical conclusion from Illuminate’s response to the FPF is that
18
     Illuminate did not want the full extent of its violations of the Pledge to come to light.
19
20              D.    Illuminate’s Responsibility to Safeguard Information
                84.   Beyond the obligations created in its security and privacy policies,
21
     Illuminate owed Plaintiffs and class members a duty to safeguard their Private
22
     Information.
23
                85.   First, as described further below, Illuminate owed a duty to safeguard
24
     Private Information pursuant to a number of statutes, including the HIPAA, the
25
     Federal Trade Commission Act (“FTC Act”), Children’s Online Privacy Protection
26
     Act (“COPPA”), Family Educational Rights and Privacy Act (“FERPA”) and the
27
28   69
          Id.
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 1   New York Education Law ¶2-d to ensure that all information it collected and stored
 2   was secure. These statutes were intended to protect Plaintiffs and the class members
 3   from the type of conduct by Illuminate alleged herein.
 4         86.    Next, Illuminate owed a duty to safeguard Private Information, given
 5   that it was on notice that it was maintaining highly-valuable data, for which
 6   Illuminate knew there was a risk that it would be targeted by cybercriminals.
 7   Illuminate knew of the extensive harm that would occur if Plaintiffs’ and class
 8   members’ Private Information were exposed through a Data Breach, and thus owed
 9   a duty to safeguard that information.
10         87.    Given the sensitive nature of the Private Information obtained by
11   Illuminate, Illuminate knew that hackers and cybercriminals would be able to commit
12   identity theft, financial fraud, phishing, socially-engineered attacks, healthcare fraud,
13   and other identity-related fraud if it were able to exfiltrate that data from Illuminate’s
14   servers. Illuminate also knew that individuals whose Private Information was stored
15   on Illuminate’s servers would be reasonable in spending time and effort to mitigate
16   their damages and prevent identity theft and fraud if that data were exfiltrated.
17         88.    Illuminate also owed a duty to safeguard Plaintiffs’ and class members’
18   data based upon the promises that it made to Plaintiffs’ and class members’ to
19   safeguard data, as well as the disclosures that it made in its data security policies and
20   privacy policies. Illuminate voluntarily undertook efforts to keep that data secure as
21   part of its business model and thus owes a continuing obligation to Plaintiffs and
22   class members to keep their Private Information secure.
23         89.    Illuminate also owed a duty to comply with industry standards in
24   safeguarding Private Information, which—as discussed herein—it did not do.
25         E.     Illuminate Failed to Meet Its Obligations to Protect Private
                  Information or Comply with its own Privacy Policies
26
           90.    Illuminate’s services are supported by privacy policies and purported
27
     security practices, which it provides on a publicly-facing website.
28

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 1          91.    Illuminate was keenly aware of the obligations that state and federal law
 2   imposed upon it given the types of information that Illuminate stored and processed
 3   for Plaintiffs and class members.
 4          92.    Illuminate also had a special relationship with Plaintiffs and class
 5   members from being entrusted with their Private Information, which provided an
 6   independent duty of care. Illuminate had a duty to use reasonable security measures
 7   because it undertook to collect, store and use consumers' Private Information.
 8   Regardless of whether the information was provided to Illuminate by their schools as
 9   part of a vendor agreement, Illuminate owed a duty to protect and safeguard that
10   Private Information.
11          93.    Illuminate has further failed Plaintiffs and class members by its failure
12   to maintain a comprehensive and sufficient security program, including by not
13   adequately securing and protecting Private Information that was stored on its
14   systems.
15          94.    Illuminate failed to provide Plaintiffs and Class Members with timely
16   and adequate notice of the extent of the Data Breach. Timely notification of the
17   breach was required so that, among other things, Plaintiffs and Class members could
18   take measures to freeze or lock their minor’s credit profiles, enroll in credit
19   monitoring services, monitor their minor’s account information and credit reports for
20   fraudulent activity, contact their banks or other financial institutions that issue their
21   credit or debit cards, and take other steps to try to prevent identify theft.
22
23
24
25          F.     Illuminate Failed to Comply with Industry and Regulatory
                   Standards
26
            95.    Because of the value of PII and PHI to hackers and identity thieves,
27
     companies in the business of storing, maintaining, and securing Private Information,
28

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 1   such as Illuminate, have been identified as being particularly vulnerable to cyber-
 2   attacks. Cybersecurity firms have promulgated a series of best practices that at
 3   minimum should be implemented by sector participants including, but not limited to:
 4   installing appropriate malware detection software; monitoring and limiting the
 5   network ports; protecting web browsers and email management systems; setting up
 6   network systems such as firewalls, switches and routers; monitoring and protecting
 7   physical security systems; protection against any possible communication system;
 8   and training staff regarding critical points. 70
 9          96.    Further, federal and state governments have likewise established
10   security standards and issued recommendations to diminish data breaches and the
11   resulting harm to consumers and financial institutions.
12          97.    Illuminate was prohibited by the Federal Trade Commission Act (“FTC
13   Act”) (15 U.S.C. §45) from engaging in unfair or deceptive acts or practices in or
14   affecting commerce. The Federal Trade Commission (“FTC”) has concluded that a
15   company’s failure to maintain reasonable and appropriate data security for
16   consumers’ sensitive personal information is an “unfair practice” in violation of the
17   FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).
18          98.    The FTC has promulgated numerous guides for businesses that highlight
19   the importance of implementing reasonable data security practices. According to the
20   FTC, the need for data security should be factored into all business decision-making.
21          99.    In 2016, the FTC updated its publication, Protecting Personal
22   Information: A Guide for Business, which established cybersecurity guidelines for
23   businesses. The guidelines note that businesses should protect the personal customer
24   information that they keep; properly dispose of personal information that is no longer
25
     70
26     See White Paper: Addressing BPO Information Security: A Three-Front
     Approach, DATAMARK, Inc. (Nov. 2016),
27   https://insights.datamark.net/addressing-bpo-information-security/. (last visited
     May 31, 2023).
28

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 1   needed; encrypt information stored on computer networks; understand their
 2   network’s vulnerabilities; and implement policies to correct any security problems.
 3           100. The FTC further recommends that companies not maintain PII longer
 4   than is needed for authorization of a transaction; limit access to private data; require
 5   complex passwords to be used on networks; use industry-tested methods for security;
 6   monitor for suspicious activity on the network; and verify that third-party service
 7   providers have implemented reasonable security measures.
 8           101. The FTC has brought enforcement actions against businesses for failing
 9   to adequately and reasonably protect customer data, treating the failure to employ
10   reasonable and appropriate measures to protect against unauthorized access to
11   confidential consumer data as an unfair act or practice prohibited by Section 5 of the
12   Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from
13   these actions further clarify the measures businesses must take to meet their data
14   security obligations.
15           102. Illuminate also had a duty to safeguard Plaintiffs’ and class members’
16   PHI under HIPAA and its implementing regulations, 45 C.F.R. §§ 160, et seq., which
17   establish privacy and security standards for certain health organizations and their
18   “business associates.” Illuminate is a “business associate” subject to HIPAA because
19   it receives, maintains, or transmits its customers’ PHI.71 “PHI” includes, in relevant
20   part, individually identifiable health information relating to the provision of health
21   care.
22           103. For example, HIPAA required Illuminate to ensure the confidentiality
23   of the electronic PHI it received and maintained by protecting against reasonably
24   anticipated threats to its integrity. Id. § 160.306(a). To do so, Illuminate was required
25   to implement reasonable and appropriate security measures to mitigate the risk of
26
27
     71
28        45 C.F.R. § 160.103.
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 1   unauthorized access to its customers’ electronic personal health information,
 2   including by encrypting certain data where appropriate.72
 3         104. Illuminate failed to properly implement these basic data security
 4   practices. Illuminate’s failure to employ reasonable and appropriate measures to
 5   protect against unauthorized access to students’ Private Information, including
 6   HIPAA-related Personal Information constitutes an unfair act or practice prohibited
 7   by Section 5 of the FTC Act, 15 U.S.C. § 45.
 8         G.     Illuminate’s Failures Resulted in a Data Breach
 9         105.                                                       , Plaintiffs and class
10   members provided sensitive and personally identifying Private Information to
11   Illuminate through their schools. When providing such information, Plaintiffs and
12   class members reasonably expected that the manager and securer of their Private
13   Information, Illuminate, would maintain security against cybercriminals and
14   cyberattacks.
15         106. Illuminate maintained Plaintiffs' and the class members' data on its
16   systems. Despite its own awareness of steady increases of cyberattacks on schools,
17   health care providers and other facilities over the course of recent years, Illuminate
18   did not maintain adequate security of Plaintiffs' and the class members' Private
19   Information and did not adequately protect it against hackers and cyberattacks.
20         107.
21
22
23                                                            . 73
24         108.
25
26
     72
27      See id. §§ 164.308 (administrative safeguards), 164.312 (technical safeguards).
     73
28      https://ecfirst.com/wp-content/uploads/2023/02/ecfirst-Services-Detailed-
     Brochure_23A.pdf. (last visited May 31, 2023).
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15         110.
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23   74
        ILLUM_00003716-0003777.
     75
24      Id.
     76
25      ILLUM_00004144-00004298.
     77
        ILLUM_00003722.
26   78
        Id.
     79
27      ILLUM_0003723.
     80
28      Id.
                                                    Footnote continued on next page
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12         112.
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21         113.
22
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24   81
        Id.
25   82
        Id.
     83
26      ILLUM_00003661-00003715.
     84
27      ILLUM_00003017-00003190.
     85
        ILLUM_00003669.
28   86
        ILLUM_00003024-00003026.
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24         114.
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 3         115.
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12         117.
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17         H.     Data Breaches Put Consumers at Increased Risk of Fraud and
                  Identity Theft
18
           118. The Data Breach creates a heightened security concern for students and
19
     parents who use Illuminate because their Private Information, including unique
20
     academic records and other sensitive financial and personal data was included.
21
           119. Private Information is valuable property. Its value is axiomatic,
22
     considering the market value and profitability of "Big Data" corporations in America.
23
     Illustratively, Alphabet Inc., the parent company of Google, reported in its 2020
24
     Annual Report a total annual revenue of $182.5 billion and net income of $40.2
25
     billion.87 America's largest corporations profit almost exclusively through the use of
26   87
       Alphabet Inc., Annual Report (Form 10-K) at 32 (Feb. 3, 2021),
27   https://www.sec.gov/ix?doc=/Archives/edgar/data/0001652044/0001652044210000
     10/goog-20201231.htm. (last visited May 31, 2023).
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 1   Private Information illustrating the considerable market value of personal Private
 2   Information.
 3         120. Criminal law also recognizes the value of Private Information and the
 4   serious nature of the theft of such an asset by imposing prison sentences. This strong
 5   deterrence is necessary because cybercriminals earn significant revenue through
 6   stealing Private Information. Once a cybercriminal has unlawfully acquired personal
 7   data, the criminal can                                                                , use
 8   the information to commit fraud or identity theft, or sell the Private Information to
 9   another cybercriminal on a thriving black market.
10         121.
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12
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17         122. Once stolen, Private Information can be used in a number of different
18   ways. One of the most common is that it is offered for sale on the "dark web," a
19   heavily encrypted part of the Internet that makes it difficult for authorities to detect
20   the location or owners of a website. The dark web is not indexed by normal search
21   engines such as Google and is only accessible using a Tor browser (or similar tool),
22   which aims to conceal users' identities and online activity. The dark web is notorious
23   for hosting marketplaces selling illegal items such as weapons, drugs, and Private
24   Information. Websites appear and disappear quickly, making it a dynamic
25   environment.
26         123. Cyberattacks and data breaches of medical facilities, educational and
27   religious institutions, and non-profit entities are especially problematic because of
28   the disruption they cause to the daily lives of the patients, students, donors, and other

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 1   individuals affected by attack, including minor children and adults lacking capacity
 2   to consent to the disclosure of their information.
 3         124. It must also be noted there may be a substantial time lag-measured in
 4   years- between when harm occurs versus when it is discovered, and also between
 5   when Private Information and/or financial information is stolen and when it is used.
 6   According to the GAO, which conducted a study regarding data breaches:
 7                [L]aw enforcement officials told us that in some cases, stolen data may
 8                be held for up to a year or more before being used to commit identity
 9                theft. Further, once stolen data have been sold or posted on the Web,
10                fraudulent use of that information may continue for years. As a result,
11                studies that attempt to measure the harm resulting from data breaches
12                cannot necessarily rule out all future harm. 88
13         125. Private Information is such an inherently valuable commodity to
14   identity thieves that, once compromised, criminals often trade the information on the
15   cyber black-market for years.
16                       Minors’ Private Information is Particularly Valuable and
                         the Harm to a Minor Resulting from a Breach is Significant
17
           126. Students’ and children’s privacy is very important. Indeed, numerous
18
     state and federal laws safeguard it. Furthermore, students and children are more
19
     vulnerable to identity theft and other consequences of their Private Information
20
     falling into the wrong hands because they are less likely to regularly monitor this
21
     information. 89
22
           127. Defendant’s conduct is particularly egregious because some education
23
     vendors typically do not know a whole lot about the students they’re serving. In one
24
     88
25      Personal Information: Data Breaches Are Frequent, but Evidence of Resulting
     Identity Theft Is Limited; However, the Full Extent Is Unknown (“GAO Report”) at
26   29, GAO (June 2007), https://www.gao.gov/assets/270/262899.pdf. (last visited
     May 31, 2023).
27   89
        See https://www.credit.com/personal-finance/use-credit-monitoring-protect-
28   childs-identity/ (last visited May 18, 2023).
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 1   interview, a cybersecurity expert stated that “[t]he Illuminate Education breach did
 2   involve a pretty large swath of sensitive information about students that could be used
 3   by criminals to commit identity theft and credit fraud against students.” 90
 4   Importantly, students and their families were required to engage with Illuminate’s
 5   software and provide Illuminate with their Private Information in order to simply
 6   obtain their education, distinguishing this case from commercial data breaches
 7   involving adult consumers, who can be more discerning about whether and how to
 8   provide financial or personal information to companies when shopping or traveling. 91
 9         128.
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20         129. It is well known that personal information of children of the type stolen
21   by data thieves from Illuminate, is particularly attractive to cyber criminals and
22   identity thieves who know there is a valuable market for such information. In fact, in
23   its report entitled The State of K-12 Cybersecurity: 2018 Year in Review, The K-12
24   Cybersecurity Resource Center noted that nearly a quarter of “data breach incidents
25   90
        See https://www.the74million.org/article/74-interview-cybersecurity-expert-
26   levin-on-the-harms-of-student-data-hacks/ (last visited May 31, 2023).
     91
        Id.
27   92

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 1   were carried out by unknown actors, often external to the school community and for
 2   malicious purposes (such as identity theft).”93 The report further noted that “security
 3   researchers have documented dark web marketplaces advertising the stolen
 4   information of children for use by identity thieves. Indeed, student data breaches can
 5   have serious and long-lasting consequences.” 94Children’s data is particularly
 6   attractive to data thieves and can have long-lasting effects on the child’s financial
 7   history and identity. Specifically:
 8                The theft of a child’s identity is lucrative to a cyber-
                  criminal because it can remain undetected for years, if not
 9                decades. Without regular monitoring, a child’s identity that
10                has been stolen may not be discovered until they are
11                preparing to go to college and start applying for student
                  loans or get their first credit card. By then, the damage is
12
                  done and the now young adult will need to go through the
13                pain of proving that their identity was indeed stolen. 95
14         130. The serious financial and other harm to students from disclosure of their
15   PII and/or names and birthdates, not to mention the other types of sensitive personal
16   information of the type stolen in this case, such as individualized education programs,
17   special education and behavioral information, cannot be overstated. These harms
18   were recognized in a September 2020 Report by the United States Government
19   Accountability Office (“GAO”) on Data Security entitled Recent K-12 Data
20   Breaches Show That Students Are Vulnerable to Harm.96 Indeed, the GAO’s Report
21   noted that:
22                 Access to or disclosure of some of the types of data collected
                   by K-12 institutions can harm students, including their
23
     93
24      https://k12cybersecure.com/wp-content/uploads/2019/02/K12Cybersecurity-
     2018YIR-1.pdf. (last visited May 31, 2023).
     94
25      Id.
     95
26      Avery Wolfe, How Data Breaches Affect Children, AXIOM Cyber Solutions
     (Mar. 15, 2018), https://axiomcyber.com/data-breach/how-data-breaches-affect-
27   children/. (last visited May 31, 2023).
     96
        GAO-20-644 Student Data Security
28

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 1                financial well-being. According to our analysis of CRC
 2                data, 22 of the 36 reported breaches that exposed students’
                  PII included full or partial Social Security numbers, or
 3
                  names and birthdates. Financial and cybersecurity experts
 4                say this kind of information can be sold on the black market
 5                and can cause significant financial harm to students who
 6                typically have clean credit histories and often do not inquire
                  about their financial status until adulthood. Data breaches
 7
                  can also cause students physical and emotional harm…
 8                For example, for students with an Individualized Education
 9                Program (IEP), disclosure of special education status,
                  annual goals, or medical diagnoses contained in these
10
                  records could lead to embarrassment or stigmatization.
11                (emphasis added)97
12         131. The disclosure of students’ Private Information that is part of this Data
13   Breach such as mental health issues, behavioral issues and disabilities can not only
14   cause embarrassment or stigmatization to a student but can negatively affect their
15   ability to get into college or secure employment in the future.
16         132. In 2011, Carnegie Mellon University’s CyLab reported “the rate of child
17   identity theft is 51 times higher than for adults (whose data sets cost about $10 - $25
18   on dark web markets).”98
19         133. By early 2018, it became well known that the data of infants was being
20   sold on the dark web. As of 2018, the cost of an infant's data was approximately $300
21   in Bitcoin, which would “provide cybercriminals access to a clean credit history.”99
22         134. As one cyber-security author further explained, the impact of the use of
23   children’s information is further exacerbated by the fact that there are few checks on
24
     97
25      The type of sensitive and particularized Private Information stolen here could
     also be used by child predators to gain the trust of their unsuspecting targets.
     98
26      Selena Larson, Infant Social Security Numbers Are for Sale on the Dark Web,
     CNN Bus. (Jan. 22, 2018), https://money.cnn.com/2018/01/22/technology/infant-
27   data-dark-web-identity-theft/index.html. (last visited May 31, 2023).
     99
28      Id.
                                                           Footnote continued on next page
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 1   using a child’s data to initially obtain credit and slowly increase it over time-all while
 2   being undetected by the child and the parents.100 Thus, “[t]he problem goes unnoticed
 3   for years-possibly decades-before the child goes to apply for student loans, open their
 4   first credit card, or buy their first car.”101
 5          135. In particular, the exposure of the PII in this Breach could have long term
 6   consequences. Joe Green, a cybersecurity professional and parent of one of the
 7   Colorado high school students whose information was stolen stated: “If you’re a bad
 8   student and had disciplinary problems and that information is now out there, how do
 9   you recover from that?... It’s your future. It’s getting into college, getting a job. It’s
10   everything.”102
11          136. In fact, parents of students who were affected by the Data Breach were
12   outraged and extremely concerned about the exposure of their children’s Private
13   Information. One parent of a Douglas County student stated in an email to the
14   Douglas County School District that “[o]ne of [his] main concerns is the types of data
15   Illuminate outlined as the breached data could be used to gain student credentials
16   with a very high success rate.”103 He found the responses and offers for “identity
17   monitoring services” not to be satisfactory. 104
18          137. Another Douglas County School District parent of a student was
19   “outraged at the breach” and noted that there were “ethical issues”, “no transparency”
20   and issues related to the deletion of student data. 105
21
22   100
         See Emily Wilson, The Worrying Trend of Children’s Data Being Sold on the
     Dark Web, TNW (Feb. 23, 2019),
23   https://thenextweb.com/contributors/2019/02/23/children-data-sold-the-dark-web/.
     (last visited May 31, 2023).
24   101
         Id.
     102
25       See https://www.nytimes.com/2022/07/31/business/student-privacy-illuminate-
     hack.html?searchResultPosition=7k. (last visited May 31, 2023).
26   103
         DCSD00179.
     104
27       Id.
     105
28       DCSD005358.
                                                       Footnote continued on next page
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 1         138. Another parent who is a cybersecurity architect for a large global bank
 2   and investment firm stated his concerns about the Private Information exposed during
 3   the Data Breach; believed that more than twelve months of credit protection was
 4   warranted. 106
 5         139. These are just a few examples of parents’ complaints out of the many
 6   received by the Douglas County School District and it is likely that each school
 7   district affected by the Data Breach had many concerns expressed to them by the
 8   parents as well.
 9         I.     Plaintiffs and Class Members Suffered Damages
10         139. Defendant had a duty to keep Private Information confidential and to
11   protect it from unauthorized access and disclosures. Plaintiffs and Class Members
12   provided their Private Information to Illuminate with the understanding that
13   Illuminate and any business partners to whom Illuminate disclosed Private
14   Information would comply with their obligations to keep such information
15   confidential and secure from unauthorized disclosures.
16         140. In addition, Illuminate owed a duty to safeguard Private Information
17   pursuant to a number of statutes, including the HIPAA, the Federal Trade
18   Commission Act (“FTC Act”), Children’s Online Privacy Protection Act
19   (“COPPA”), to ensure that all information it collected and stored was secure. These
20   statutes were intended to protect Plaintiffs and the class members from the type of
21   conduct by Illuminate alleged herein.
22         140. Defendant’s data security obligations were particularly important given
23   the substantial increases in data breaches in recent years, which are widely known to
24   the public and to anyone in Illuminate’s industry of data collection and transfer. 107
25
26   106
         DCSD000882.
27   107
         See https://marketbrief.edweek.org/marketplace-k-12/pearson-will-pay-1-
28   million-fine-understating-2018-data-breach-misleading-investors/ (last visited May
     31, 2023).
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 1         141. Data breaches are not new. These types of attacks should be anticipated
 2   by companies that store sensitive and personally identifying information, and these
 3   companies must ensure that data privacy and security is adequate to protect against
 4   and prevent known attacks. Indeed, Pearson Education recently paid $1 million in
 5   fines for failing to properly disclose information about its data breach. 108
 6         142. It is well known among companies that store sensitive personally
 7   identifying information that sensitive information is valuable and frequently targeted
 8   by criminals and that they need to implement appropriate security measures to keep
 9   criminals from accessing Private Information.
10         143. Identity theft victims are frequently required to spend many hours and
11   large amounts of money repairing the impact to their credit. Identity thieves use
12   stolen personal information for a variety of crimes, including credit card fraud, tax
13   fraud, phone or utilities fraud, and bank/finance fraud. This is particularly true of
14   children’s personal information, because they are less likely to conduct regular credit
15   monitoring and their information is more likely to be on the “dark web.”109
16         144. There may be a time lag between when the harm occurs versus when it
17   is discovered, and also between when Private Information is stolen and when it is
18   used. According, to the U.S. Government Accountability Office, which conducted a
19   study regarding data breaches:
20                [L]aw enforcement officials told us that in some cases,
                  stolen data may be held for up to a year or more before
21                being used to commit identity theft. Further, once stolen
22                data have been sold or posted on the Web, fraudulent use
23                of that information may continue for years. As a result,
                  studies that attempt to measure the harm resulting from
24
                  data breaches cannot necessarily rule out all future harm. 110
25   108
         Id.
26   109
         See https://www.kqed.org/news/11898753/experts-say-you-should-freeze-your-
27   childrens-credit-heres-how (last visited May 31, 2023).
     110
         Report to Congressional Requesters, U.S. Government Accountability Office,
28   (June 2007), http://www.gao.gov/new.items/d07737.pdf. (last visited May 31,
                                                        Footnote continued on next page
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 1            145. With access to an individual’s Private Information, criminals can
 2   commit all manners of fraud, including obtaining a driver’s license or official
 3   identification card in the victim’s name but with the thief’s picture, or filing a
 4   fraudulent tax return using the victim’s information.
 5            146. Private Information is such a valuable commodity to identity thieves that
 6   once the information has been compromised, criminals often trade the information
 7   on the dark web and the “cyber black-market” for years. As a result of recent large-
 8   scale data breaches, identity thieves and cyber criminals have openly posted stolen
 9   Private Information directly on various illegal websites making the information
10   publicly available, often for a price.
11            147. Illuminate is, and at all relevant times has been, aware that the sensitive
12   Private Information it handles and stores in connection with providing its services is
13   highly sensitive. As a company that provides services involving highly sensitive and
14   identifying information, Illuminate is aware of the importance of safeguarding that
15   information and protecting its systems and products from security vulnerabilities.
16            148. Illuminate was also aware, or should have been aware, of regulatory and
17   industry guidance regarding data security.
18            149. Despite the known risk of data breaches and the widespread publicity
19   and industry alerts regarding other notable data breaches, Defendant failed to take
20   reasonable steps to adequately protect its systems from being breached and to
21   properly secure its platforms, leaving its clients and all persons who provide sensitive
22   Private Information to its clients exposed to risk of fraud and identity theft.
23            150. In addition, the Data Breach was the result of Illuminate’s failure not
24   only to properly and adequately determine whether it was susceptible to a data breach
25   but also its negligent and reckless failure to remove old unused and no longer needed
26   data of former students containing Private Information or to encrypt such
27   information. Illuminate, in fact, had no valid business reason for retaining such
28   2023).
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 1   records containing highly sensitive Private Information for such long periods and for
 2   failing to delete or encrypt such information.
 3         151. As a result of the events detailed herein, Plaintiffs and Class Members
 4   suffered harm and loss of privacy, and will continue to suffer future harm, resulting
 5   from the Data Breach, including but not limited to: invasion of privacy; loss of
 6   privacy; loss of control over personal information and identities; disclosure of their
 7   need for special education; disclosure of financial status; fraud and identity theft;
 8   unreimbursed losses relating to fraud and identity theft; loss of value and loss of
 9   possession and privacy of Private Information; harm resulting from damaged credit
10   scores and information; loss of time and money preparing for and resolving fraud and
11   identity theft; loss of time and money obtaining protections against future identity
12   theft; and other harm resulting from the unauthorized use or threat of unauthorized
13   exposure of Private Information.
14         152. As a result of the Data Breach, Plaintiffs’ and Class Members’ privacy
15   has been invaded, their Private Information is now in the hands of criminals, they
16   face a substantially increased risk of identity theft, fraud and other harms, and they
17   must take immediate and time-consuming action to protect themselves from such.
18         153. Had Defendant remedied the deficiencies in its data security systems
19   and adopted security measures recommended by experts in the field, they would have
20   prevented the intrusions into its systems and, ultimately, the theft of Plaintiffs’ and
21   Class Members’ Private Information.
22         154. As a direct and proximate result of Defendant’s wrongful actions and
23   inactions, Plaintiffs and Class Members have been placed at an imminent, immediate,
24   and continuing increased risk of harm from identity theft, fraud, and other harms
25   requiring them to take the time which they otherwise would have dedicated to other
26   life demands such as work and family in an effort to mitigate the actual and potential
27   impact of the Data Breach on their lives.
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 1         155. The U.S. Department of Justice's Bureau of Justice Statistics found that
 2   “among victims who had personal information used for fraudulent purposes, twenty-
 3   nine percent spent a month or more resolving problems” and that “resolving the
 4   problems caused by identity theft [could] take more than a year for some victims.”111
 5         156. In the Data Breach Notice, Illuminate made an offer of identity
 6   monitoring service to students whose data was compromised. Illuminate has not
 7   offered or provided victims any fraud insurance or medical identity theft protection.
 8   Illuminate’s offer fails to address the fact that victims of data breaches and other
 9   unauthorized disclosures commonly face multiple years of ongoing identity theft,
10   medical and financial fraud, and potentially other harms (particularly given the
11   sensitivity of the Private Information of minor students at issue here) and it entirely
12   fails to provide sufficient compensation for the unauthorized release and disclosure
13   of Plaintiffs’ and Class Members’ Private Information.
14         157. Other than providing 12 months of credit monitoring, Defendant does
15   not appear to be taking any measures to assist Plaintiffs and Class Members other
16   than telling them to simply do the following:
17            • “remain vigilant for incidents of identity theft and”;
18            • “review[] your minor’s account statements and monitor[] your free
19                credit reports for suspicious activity”;
20            • Place a security freeze on your minor’s credit file;
21            • contact the FTC and/or the state Attorney General’s office;
22            • enact a security freeze on credit files; and
23            • place a fraud alert on your minor’s credit report.
24
25
     111
26      U.S. Department of Justice, Office of Justice Programs Bureau of Justice
     Statistics, Victims of Identity Theft, 2012, December 2013, available at:
27   https://www.bjs.gov/content/pub/pdf/vit12.pdf ((last visited May 31, 2023).

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 1   None of these recommendations, however, require Defendant to expend any effort to
 2   protect Plaintiffs’ and Class Members’ Private Information, and put the onus on
 3   Plaintiffs and Class Members to expend time, money, and energy to complete these
 4   tasks.
 5            158. Defendant’s failure to adequately protect Plaintiffs’ and Class
 6   Members’ Private Information has resulted in Plaintiffs and Class Members having
 7   to undertake these tasks, which require extensive amounts of time, calls, and, for
 8   many of the credit and fraud protection services, payment of money - while
 9   Defendant sits by and does nothing to assist those affected by the incident. Instead,
10   as Illuminate’s Data Breach Notice indicates, it is putting the burden on Plaintiffs and
11   Class Members to discover possible fraudulent activity and identity theft.
12            159. Illuminate’s offer of 12 months of identity monitoring to Plaintiffs and
13   Class Members is woefully inadequate, while at the same time serving as a stark
14   admission that Plaintiffs and members of the Class face a heightened risk of identity
15   theft and/or other harms as a result of the Data Breach. While some harm has begun
16   already, the worst is likely yet to come. There may be a time lag between when harm
17   occurs versus when it is discovered, and also between when Private Information is
18   acquired and when it is used. Furthermore, identity monitoring only alerts someone
19   to the fact that they have already been the victim of identity theft (i.e., fraudulent
20   acquisition and use of another person's Private Information) - it does not prevent
21   identity theft.112
22            160. Plaintiffs and Class Members have been damaged in several other ways
23   as well. All Plaintiffs and Class Members have been exposed to an impending,
24   imminent, and ongoing increased risk of fraud, identity theft, and other misuse of
25
     112
26     See, e.g., Kayleigh Kulp, Credit Monitoring Services May Not Be Worth the
     Cost, Nov. 30, 2017, https://www.cnbc.com/2017/11/29/credit-monitoring-services-
27   may-not-be-worth-the-cost.html (last visited May 31, 2023).

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 1   their Private Information, which is why Illuminate advised Plaintiffs and Class
 2   Members to take the various measures noted above. Plaintiffs and Class Members
 3   must now and indefinitely closely monitor their financial and other accounts to guard
 4   against fraud. This is a burdensome and time-consuming activity. Certain Plaintiffs
 5   and Class Members have also purchased credit monitoring and other identity
 6   protection services, purchased credit reports, placed credit freezes and fraud alerts on
 7   their credit reports, and spent time investigating and disputing fraudulent or
 8   suspicious activity on their accounts. Plaintiffs and Class Members also suffered a
 9   loss of the inherent value of their Private Information.
10         161. PII stolen in the Data Breach can be misused on its own, or can be
11   combined with personal information from other sources such as publicly available
12   information, social media, etc. to create a package of information capable of being
13   used to commit further identity theft. Thieves can also use the stolen PII to send
14   spear-phishing emails to Class Members to trick them into revealing sensitive
15   information. Lulled by a false sense of trust and familiarity from a seemingly valid
16   sender (for example Wells Fargo, Amazon, or a government entity), the individual
17   agrees to provide sensitive information requested in the email, such as login
18   credentials, account numbers, and the like.
19         162. As a result of Defendant’s failures to prevent the Data Breach, Plaintiffs
20   and Class Members have suffered, will suffer, and are at increased risk of suffering:
21                a.     The compromise, publication, theft and/or unauthorized use of
22                       their Private Information;
23                b.     Out-of-pocket costs associated with the prevention, detection,
24                       recovery and remediation from identity theft or fraud;
25                c.     Lost opportunity costs and lost wages associated with efforts
26                       expended and the loss of productivity from addressing and
27                       attempting to mitigate the actual and future consequences of the
28                       Data Breach, including but not limited to efforts spent researching

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 1                      how to prevent, detect, contest and recover from identity theft and
 2                      fraud;
 3                d.    The continued risk to their Private Information, which remains in
 4                      the possession of Defendant and is subject to further breaches so
 5                      long as Defendant fail to undertake appropriate measures to
 6                      protect the Private Information in their possession;
 7                e.    Current and future costs in terms of time, effort and money that
 8                      will be expended to prevent, detect, contest, remediate and repair
 9                      the impact of the Data Breach for the remainder of the lives of
10                      Plaintiffs and Class Members; and
11                f.    Anxiety and distress resulting from fear of misuse of their Private
12                      Information.
13         163. In addition to a remedy for the economic harm, Plaintiffs and Class
14   Members maintain an undeniable interest in ensuring that their Private Information
15   is secure, remains secure, and is not subject to further misappropriation and theft.
16         J.     Illuminate’s Delay in Identifying & Reporting the Breach Caused
17                Additional Harm
18         164. It is axiomatic that:
                The quicker a financial institution, credit card issuer,
19
                wireless carrier or other service provider is notified that
20              fraud has occurred on an account, the sooner these
21              organizations can act to limit the damage. Early
                notification can also help limit the liability of a victim in
22
                some cases, as well as allow more time for law enforcement
23              to catch the fraudsters in the act.113
24         165. Indeed, once a data breach has occurred:
25              One thing that does matter is hearing about a data breach
26              quickly. That alerts consumers to keep a tight watch on

27   113
        https://www.businesswire.com/news/home/20170201005166/en/Identity-Fraud-
28   Hits-Record-High-with-15.4-Million-U.S.-Victims-in-2016-Up-16-Percent-
     According-to-New-Javelin-Strategy-Research-Study. (last visited May 31, 2023).
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 1                credit card bills, insurance invoices, and suspicious emails.
 2                It can prompt them to change passwords and freeze credit
                  reports. And notifying officials can help them catch
 3
                  cybercriminals and warn other businesses of emerging
 4                dangers. If consumers don’t know about a breach because
 5                it wasn’t reported, they can’t take action to protect
 6                themselves (internal citations omitted).114

 7         166. Although their Private Information was improperly exposed between on

 8   or about December 28, 2021, and January 8, 2022. Defendant began notifying

 9   Plaintiffs and Class Members of the Data Breach in mid-April 2022. However, many

10   Plaintiffs and Class Members did not receive the notice letter until the end of July

11   2022, depriving them of the ability to promptly mitigate potential adverse

12   consequences resulting from the Data Breach.

13         167.

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21         168. The earliest notification by Defendant to the California Attorney

22   General was not until May 13, 2022, with additional notifications after that date and

23   as late as July 29, 2022.115 Defendant did not notify the New York City school district

24
25   114
         https://www.consumerreports.org/data-theft/the-data-breach-next-door-
26   a7102554918/. (last visited May 31, 2023).
     115
27       See https://oag.ca.gov/privacy/databreach/list?field_sb24_org_name_value=
     Illuminate&field_sb24_breach_date_value%5Bmin%5D%5Bdate%5D=&field_sb2
28   4_breach_date_value%5Bmax%5D%5Bdate%5D= (last visited May 31, 2023).
                                                          Footnote continued on next page
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 1   of the Data Breach until March 25, 2022116 and did not notify the Washington
 2   Attorney General until April 22, 2022, with additional notifications after that date
 3   and as late as August 2, 2022. 117
 4           169. As a result of Defendant’s delay in detecting and notifying consumers
 5   of the Data Breach,
 6                                        , the risk of fraud and other harms for Plaintiffs
 7   and Class Members has been driven even higher.
 8           170. In addition, in August 2022, Renaissance Learning (“Renaissance”),
 9   which holds itself out as a global leader in pre-k to 12 education technology, acquired
10   Illuminate for an undisclosed purchase price. In a letter sent to Illuminate customers
11   on or about August 24, 2022 sharing the news about the acquisition, Renaissance’s
12   CEO, Chris Bauleke, noted the data breach experienced by Illuminate earlier in the
13   year.
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18                                                                                     While
19   the potentially protected student information was isolated to two Illuminate products
20   (Data Driven Classroom, IO Assessment) and one tool (IO Admin) used to transfer
21   data to or from other products, we understand that an incident of this kind causes
22   concern.”
23
24
25
     116
26       See https://www.nytimes.com/2022/07/31/business/student-privacy-illuminate-
     hack.html (last visited May 31, 2023).
     117
27       See https://www.atg.wa.gov/search/node/Illuminate%20type%3Adata_breach_
     notification (last visited May 31, 2023).
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 1         K.     Plaintiffs’ Experiences
 2         171. Plaintiff Lucas Cranor is a resident of Colorado. Plaintiff is filing these
 3   claims as a real party in interest for himself and his minor children pursuant to Federal
 4   Rule of Civil Procedure 17(a)(1)(C). Mr. Cranor received two notice letters from
 5   Illuminate dated April 29, 2022, stating that both of his children’s Private
 6   Information was compromised by the Data Breach. Mr. Cranor’s children are minors
 7   who attend school in the Douglas County School District in Colorado.
 8         172. In the letter, Defendant stated that it "is now notifying you of this
 9   incident because our investigation has determined that your minor's information was
10   contained in the affected databases." The letter went on to disclose that "[t]he affected
11   databases may have contained the following: your minor's name, student
12   identification number, academic and behavior information, enrollment information,
13   accommodation information, special education information, and/or student
14   demographic information."
15         173. As a result of learning of the Data Breach, Plaintiff spent time dealing
16   with the consequences of the Data Breach, which includes time spent verifying the
17   legitimacy of the news reports of the Data Breach, corresponding with Illuminate and
18   making public records requests concerning the Data Breach, exploring credit
19   monitoring and identity theft insurance options and monitoring his children's
20   information. To date, Plaintiff has spent at least 36 hours dealing with the Data
21   Breach.
22         174. Plaintiff suffered actual injury in the form of damages to and diminution
23   of the value of Private Information - a form of intangible property that Plaintiff
24   entrusted to Defendant for the purpose of education, which was compromised in and
25   as a result of the Data Breach.
26         175. Plaintiff has suffered lost time, annoyance, interference, and
27   inconvenience as a result of the Data Breach. This is time Mr. Cranor otherwise
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 1   would have spent performing other activities, such as his job and/or leisurely
 2   activities for the enjoyment of life.
 3            176. Knowing that thieves stole his children's Private Information,
 4   potentially including their PHI and other immutable information, and knowing that
 5   his children's Private Information may be available for sale on the dark web, has
 6   caused Plaintiff Cranor emotional distress. He is now very concerned about identity
 7   theft in general.
 8            177. Plaintiff has suffered imminent and impending injury arising from the
 9   disclosure of their Private Information and for the substantially increased risk of
10   fraud, identity theft, and misuse resulting from Private Information being placed in
11   the hands of unauthorized third parties and criminals. In addition, Plaintiff Cranor
12   has noticed a substantial uptick in unwanted spam telephone calls and emails since
13   the Data Breach.
14            178. In addition, although Illuminate states in the Data Breach notices that
15   Social Security numbers were not impacted by the Data Breach, Plaintiff is concerned
16   that his children’s Social Security numbers, which were part of their student records
17   at the time of the breach, may have been breached as well.
18            179. On information and belief, Plaintiff believes that his Private Information
19   including his name, address, phone number and email may have been breached as
20   well because it is part of his children's school records. This is confirmed by the April
21   13, 2022, email from Adam Smith, Director of Customer Support at Illuminate to
22   Joanne Murphy, the Data Visualization Designer at Douglas County School District
23   in Colorado which is the school district that Plaintiff Cranor's children attend. 118
24            180. Plaintiff has a continued interest in ensuring that Private Information,
25   which remains backed up in Defendant's possession, is protected and safeguarded
26   from further and future breaches.
27
28   118
           See ¶ 44 above.
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 1         181. Plaintiff Kristen Weiland is a resident of Colorado. Plaintiff is filing
 2   these claims as a real party in interest for herself and her minor children pursuant to
 3   Federal Rule of Civil Procedure 17(a)(1)(C). Ms. Weiland received one or more
 4   notice letters from the Douglas County, Colorado school district, dated May 4, 2022,
 5   stating that her child’s Private Information may have been compromised by the Data
 6   Breach. Ms. Weiland’s three children are minors who were enrolled at schools in the
 7   Douglas County School District in Colorado.
 8         182. The letter stated in part that "Illuminate Education recently informed us
 9   that some of their products were affected by a data security incident. Illuminate has
10   determined that an unauthorized third party gained access to a dataset containing
11   student information belonging to schools and school districts nationwide. Illuminate
12   has indicated that your student's data may have been affected." (emphasis in
13   original).
14         183. Plaintiff Weiland suffered actual injury in the form of damages to and
15   diminution of the value of Private Information - a form of intangible property that
16   Plaintiff entrusted to Defendant for the purpose of education, which was
17   compromised in and as a result of the Data Breach. Two of Plaintiff's children have
18   special needs which makes them even more vulnerable since their school records
19   contain extremely sensitive information.
20         184. Plaintiff Weiland has suffered lost time, annoyance, interference, and
21   inconvenience as a result of the Data Breach. This is time Ms. Weiland otherwise
22   would have spent performing other activities, such as her job and/or leisurely
23   activities for the enjoyment of life.
24         185. Knowing that thieves stole her children's Private Information,
25   potentially including their PHI and other information, and knowing that her children's
26   Private Information may be available for sale on the dark web, has caused Plaintiff
27   Weiland emotional distress. She is now very concerned about identity theft in
28

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 1   general, and what could happen to her children in the future because of the Data
 2   Breach.
 3            186. Plaintiff Weiland has suffered imminent and impending injury arising
 4   from the disclosure of their Private Information and for the substantially increased
 5   risk of fraud, identity theft, and misuse resulting from Private Information being
 6   placed in the hands of unauthorized third parties and criminals. In addition, Plaintiff
 7   Weiland has noticed a substantial uptick in unwanted spam telephone calls and text
 8   messages since the Data Breach.
 9            187. In addition, although Illuminate states in the Data Breach notices that
10   Social Security numbers were not impacted by the Data Breach, Plaintiff is concerned
11   that her children’s Social Security numbers, which were part of their student records,
12   at the time of the breach may have been breached as well.
13            188. Further, Plaintiff Weiland is concerned that her children's medical and
14   behavioral histories that are both part of their student records have been breached as
15   well.
16            189. On information and belief, Plaintiff Weiland believes that her Private
17   Information including her name, address, phone number and email may have been
18   breached as well because it is part of her child's school records. This is confirmed by
19   the April 13, 2022, email from Adam Smith, Director of Customer Support at
20   Illuminate to Joanne Murphy, the Data Visualization Designer at Douglas County
21   School District in Colorado which is the school district that Plaintiff Weiland's
22   children attend. 119
23            190. Plaintiff has a continued interest in ensuring that Private Information,
24   which remains backed up in Defendant's possession, is protected and safeguarded
25   from further and future breaches.
26            191. Plaintiff Anastasiya Kisil is a resident of New York. Plaintiff is filing
27   these claims as a real party in interest for herself and her minor child pursuant to
28   119
           See ¶ 44 above.
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 1   Federal Rule of Civil Procedure 17(a)(1)(C). Plaintiff Kisil received a notice letter
 2   from the NYC Department of Education(“NYCDOE”) dated May 19, 2022, stating
 3   that her child’s Private Information was compromised by the Data Breach. Ms.
 4   Kisil’s child is a minor who attends school in New York.
 5          192. The letter stated that the Defendant informed the NYCDOE that “… its
 6   investigation has determined that your child’s information was contained in the
 7   affected databases.” The letter went on to disclose that “[t]he affected databases
 8   contained the following information about all affected NYCDOE students, including
 9   your child: first and last name, student identification number, and school.” “…. At
10   least two of the following information items for all affected NYCDOE students,
11   including your child: date of birth, gender, grade level, race/ethnicity, home
12   language, and class information (including teacher name and/or subject).” (emphasis
13   in original).
14          193. In addition, the letter also stated that “the affected databases contained
15   academic testing information, including scores and answers for some NYCDOE
16   students. Your child had such information affected.” The letter also stated that “the
17   affected databases contained one or more of the following pieces of information for
18   some NYCDOE students: whether the student is an English Language Learner,
19   whether the student receives special education services (but not information on the
20   services themselves or the content of the Individualized Education Plans), and (for a
21   very small number of students) whether the student is economically disadvantaged.
22   Your child had such information affected.”
23          194. As a result of learning of the Data Breach, Plaintiff spent time dealing
24   with the consequences of the Data Breach, which includes time spent verifying the
25   legitimacy of the news reports of the Data Breach, exploring credit monitoring and
26   identity theft insurance options, researching and signing up for credit monitoring
27   offered by Defendant and monitoring her child’s information. To date, Plaintiff has
28   spent at least 15 hours dealing with the Data Breach.

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 1         195. Plaintiff suffered actual injury in the form of damages to and diminution
 2   of the value of Private Information – a form of intangible property that Plaintiff
 3   entrusted to Defendant for the purpose of education, which was compromised in and
 4   as a result of the Data Breach.
 5         196. Plaintiff has suffered lost time, annoyance, interference, and
 6   inconvenience as a result of the Data Breach. This is time Ms. Kisil otherwise would
 7   have spent performing other activities, such as her job and/or leisurely activities for
 8   the enjoyment of life.
 9         197. Knowing that thieves stole her child’s Private Information, potentially
10   including their PHI and other immutable information, and knowing that her child’s
11   Private Information may be available for sale on the dark web, has caused Plaintiff
12   Kisil emotional distress. She is now very concerned about identity theft in general,
13   and what could happen to her child in the future because of the Data Breach.
14         198. Plaintiff has suffered imminent and impending injury arising from the
15   disclosure of their Private Information and for the substantially increased risk of
16   fraud, identity theft, and misuse resulting from Private Information being placed in
17   the hands of unauthorized third parties and criminals.
18         199. In addition, although Illuminate states in the Data Breach notices that
19   Social Security numbers were not impacted by the Data Breach, Plaintiff is concerned
20   that her son’s Social Security number, which was part of his student records at the
21   time of the breach, may have been breached as well.
22         200. In addition, Plaintiff is concerned that her son’s medical history that is
23   part of his student records has been breached as well.
24         201. On information and belief, Plaintiff believes that her Private Information
25   including her name, address, phone number and email may have been breached as
26   well because it is part of her child’s school records. The likelihood that Plaintiff’s
27   Private Information was part of the Data Breach is confirmed by the April 13, 2022,
28   email from Adam Smith, Director of Customer Support at Illuminate to Joanne

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 1   Murphy, the Data Visualization Designer at Douglas County School District in
 2   Colorado. 120
 3            202. Plaintiff has a continued interest in ensuring that Private Information,
 4   which remains backed up in Defendant’s possession, is protected and safeguarded
 5   from further and future breaches.
 6            203. Plaintiff Tara Chambers is a resident of California. Plaintiff is filing
 7   these claims as a real party in interest for herself and her minor child pursuant to
 8   Federal Rule of Civil Procedure 17(a)(1)(C). Ms. Chambers received a notice letter
 9   from Illuminate dated July 29, 2022, stating that her child’s Private Information was
10   compromised by the Data Breach. Ms. Chambers’ child is a minor who attends school
11   in the Apple Valley Unified School District in California.
12            204. In the letter, Defendant stated that it "is now notifying you of this
13   incident because our investigation has determined that your minor's information was
14   contained in the affected databases." The letter went on to disclose that "[t]he affected
15   databases may have contained the following: your minor's name, academic and
16   behavior information, enrollment information, accommodation information, special
17   education     information,     medical   information,   and/or   student    demographic
18   information."
19            205. As a result of learning of the Data Breach, Plaintiff spent time dealing
20   with the consequences of the Data Breach, which includes time spent verifying the
21   legitimacy of the news reports of the Data Breach, exploring credit monitoring and
22   identity theft insurance options, researching and signing up for credit monitoring
23   offered by Defendant, researching credit freezes for her child's credit and monitoring
24   her child's information. To date, Plaintiff has spent at least six hours dealing with the
25   Data Breach.
26            206. Plaintiff suffered actual injury in the form of damages to and diminution
27   of the value of Private Information - a form of intangible property that Plaintiff
28   120
           See ¶ 44 above.
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 1   entrusted to Defendant for the purpose of education, which was compromised in and
 2   as a result of the Data Breach.
 3         207. In addition, since the Data Breach, Plaintiff's son has experienced an
 4   increase in spam text messages on the phone number that he had provided to the
 5   school. Plaintiff herself has had her online Amazon and PayPal accounts hacked,
 6   unauthorized inquiries appeared on her credit report, and she has experienced a
 7   significant increase in spam phone calls, spam test messages as well as spam emails
 8   some related to solicitations for medical equipment.
 9         208. Plaintiff has suffered lost time, annoyance, interference, and
10   inconvenience as a result of the Data Breach. This is time Ms. Chambers otherwise
11   would have spent performing other activities, such as her job and/or leisurely
12   activities for the enjoyment of life.
13         209. Knowing that thieves stole her child's Private Information, potentially
14   including their PHI and other immutable information, and knowing that her child’s
15   Private Information may be available for sale on the dark web, has caused Plaintiff
16   Chambers emotional distress. She is now very concerned about identity theft in
17   general, and what could happen to her child in the future because of the Data Breach.
18         210. Plaintiff has suffered imminent and impending injury arising from the
19   disclosure of their Private Information and for the substantially increased risk of
20   fraud, identity theft, and misuse resulting from Private Information being placed in
21   the hands of unauthorized third parties and criminals.
22         211. In addition, although Illuminate states in the Data Breach notices that
23   Social Security numbers were not impacted by the Data Breach, Plaintiff is concerned
24   that her son’s Social Security number, which was part of her son’s student records at
25   the time of the breach, may have been breached as well.
26         212. On information and belief, Plaintiff believes that her Private Information
27   including her name, address, phone number and email may have been breached as
28   well because it is part of her child’s school records. The likelihood that Plaintiff’s

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 1   Private Information was part of the Data Breach is confirmed by the April 13, 2022,
 2   email from Adam Smith, Director of Customer Support at Illuminate to Joanne
 3   Murphy, the Data Visualization Designer at Douglas County School District in
 4   Colorado.121
 5            213. Plaintiff has a continued interest in ensuring that Private Information,
 6   which remains backed up in Defendant’s possession, is protected and safeguarded
 7   from further and future breaches.
 8            214. Plaintiff Janene Vitro is a resident of California. Plaintiff is filing these
 9   claims as a real party in interest for herself and her son pursuant to Federal Rule of
10   Civil Procedure 17(a)(1)(C). Ms. Vitro’s son received a notice letter from Illuminate
11   dated July 29, 2022, stating that his Private Information was compromised by the
12   Data Breach. This letter was sent to her son who is not a minor. Ms. Vitro’s son is
13   living with a disability, and she is his legal guardian and legal representative. Her son
14   attended school in the Apple Valley Unified School District in California.
15            215. In the letter, Defendant stated that it is “now notifying you of this
16   incident because our investigation has determined that your information was
17   contained in the affected databases.” The letter went on to disclose that “[t]he affected
18   databases may have contained the following: your name, academic and behavior
19   information, enrollment information, accommodation information, special education
20   information, medical information, and/or student demographic information.”
21            216. As a result of learning of the Data Breach, Plaintiff spent time dealing
22   with the consequences of the Data Breach, which includes time spent verifying the
23   legitimacy of the news reports of the Data Breach, exploring credit monitoring and
24   identity theft insurance options, researching and signing up for credit monitoring
25   offered by Defendant, calling all three credit agencies to put a credit freeze on her
26   son’s credit, sending the credit agencies her power of attorney for the credit freezes,
27   contacting the social security office and her son’s bank to inform them of the breach
28   121
           See ¶ 44 above.
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 1   and monitoring her son’s financial accounts for fraudulent activity. To date, Plaintiff
 2   has spent at least ten hours performing these activities as a result of the Data Breach.
 3         217. Plaintiff suffered actual injury in the form of damages to and diminution
 4   of the value of Private Information – a form of intangible property that Plaintiff
 5   entrusted to Defendant for the purpose of education, which was compromised in and
 6   as a result of the Data Breach.
 7         218. In addition, since the breach, Plaintiff’s son has experienced an increase
 8   in spam phone calls and spam text messages on the number that he had provided to
 9   the school. Plaintiff herself has had her online information hacked where the hacker
10   was able to charge her debit card on a fake website.
11         219. Plaintiff has suffered lost time, annoyance, interference, and
12   inconvenience as a result of the Data Breach. This is time Ms. Vitro otherwise would
13   have spent performing other activities, such as her job and/or leisurely activities for
14   the enjoyment of life.
15         220. Knowing that thieves stole her son’s Private Information, potentially
16   including his PHI and other immutable information, and knowing that her son’s
17   Private Information may be available for sale on the dark web, has caused Plaintiff
18   Vitro emotional distress. She is now very concerned about identity theft in general,
19   and what could happen to her son in the future because of the Data Breach.
20         221. Plaintiff has suffered imminent and impending injury arising from the
21   disclosure of their Private Information and for the substantially increased risk of
22   fraud, identity theft, and misuse resulting from Private Information being placed in
23   the hands of unauthorized third parties and criminals.
24         222. In addition, although Illuminate states in the Data Breach notices that
25   Social Security numbers were not impacted by the Data Breach, Plaintiff is concerned
26   that her son’s Social Security number, which was part of his student records at the
27   time of the breach, may have been breached as well.
28

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 1            223. On information and belief, Plaintiff believes that her Private Information
 2   including her name, address, phone number and email may have been breached as
 3   well because it is part of her son’s school records. The likelihood that Plaintiff’s
 4   Private Information was part of the Data Breach is confirmed by the April 13, 2022,
 5   email from Adam Smith, Director of Customer Support at Illuminate to Joanne
 6   Murphy, the Data Visualization Designer at Douglas County School District in
 7   Colorado. 122
 8            224. Plaintiff is experiencing a tremendous amount of anxiety and fear as a
 9   direct result of the breach since her son lives with a disability and is extremely
10   vulnerable to fraud and identity theft.
11            225. Plaintiff has a continued interest in ensuring that Private Information,
12   which remains backed up in Defendant’s possession, is protected and safeguarded
13   from further and future breaches.
14            226. Plaintiff Lorraine Deniz is a resident of California. Plaintiff is filing
15   these claims as a real party in interest for herself and her minor children pursuant to
16   Federal Rule of Civil Procedure 17(a)(1)(C). Ms. Deniz received two notice letters
17   from Illuminate dated July 15, 2022, stating that both of her children’s Private
18   Information was compromised by the Data Breach. Ms. Deniz’ children are minors
19   who attend school in the Fairfield-Suisun Unified School District in California.
20            227. In the letters, Defendant stated that it “is now notifying you of this
21   incident because our investigation has determined that your minor’s information was
22   contained in the affected databases.” The letter went on to disclose that “[t]he affected
23   databases may have contained the following: your minor’s name, academic and
24   behavior information, enrollment information, accommodation information, special
25   education     information,     medical    information,   and/or   student    demographic
26   information.”
27
28   122
           See ¶ 44 above.
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 1         228. As a result of learning of the Data Breach, To date, Plaintiff spent at
 2   least twelve hours dealing with the consequences of the Data Breach, which includes
 3   time spent verifying the legitimacy of the news reports of the Data Breach, exploring
 4   credit monitoring and identity theft insurance options, researching and signing up for
 5   credit monitoring offered by Defendant, obtaining credit freezes on her children’s
 6   credit which required her to take time off from work and monitoring her children’s
 7   information.
 8         229. Plaintiff suffered actual injury in the form of damages to and diminution
 9   of the value of Private Information – a form of intangible property that Plaintiff
10   entrusted to Defendant for the purpose of education, which was compromised in and
11   as a result of the Data Breach.
12         230. Plaintiff has suffered lost time, annoyance, interference, and
13   inconvenience as a result of the Data Breach. This is time Ms. Deniz otherwise would
14   have spent performing other activities, such as her job and/or leisurely activities for
15   the enjoyment of life.
16         231. Knowing that thieves stole her children’s Private Information,
17   potentially including their PHI and other immutable information, and knowing that
18   her children's Private Information may be available for sale on the dark web, has
19   caused Plaintiff Deniz emotional distress. She is now very concerned about identity
20   theft in general, and what could happen to her children in the future because of the
21   Data Breach.
22         232. Plaintiff has suffered imminent and impending injury arising from the
23   disclosure of their Private Information and for the substantially increased risk of
24   fraud, identity theft, and misuse resulting from Private Information being placed in
25   the hands of unauthorized third parties and criminals.
26         233. In addition, although Illuminate states in the Data Breach notices that
27   Social Security numbers were not impacted by the Data Breach, Plaintiff is concerned
28

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 1   that her children’s Social Security numbers, which were part of their student records,
 2   may have been breached as well.
 3            234. Plaintiff has experienced a significant increase in spam phone calls and
 4   spam text messages since the Data Breach.
 5            235. On information and belief, Plaintiff believes that her Private Information
 6   including her name, address, phone number and email may have been breached as
 7   well because it is part of her children's school records. The likelihood that Plaintiff's
 8   Private Information was part of the Data Breach is confirmed by the April 13, 2022,
 9   email from Adam Smith, Director of Customer Support at Illuminate to Joanne
10   Murphy, the Data Visualization Designer at Douglas County School District in
11   Colorado. 123
12            236. Plaintiff has a continued interest in ensuring that Private Information,
13   which remains backed up in Defendant's possession, is protected and safeguarded
14   from further and future breaches.
15                                      CHOICE OF LAW
16            237. The State of California has a significant interest in regulating the
17   conduct of businesses operating within its borders. California seeks to protect the
18   rights and interests of all California residents and citizens of the United States against
19   a company headquartered and doing business in California. California has a greater
20   interest in the nationwide claims of Plaintiffs and members of the Nationwide Class
21   than any other state and is most intimately concerned with the claims and outcome
22   of this litigation.
23            238. The corporate headquarters of Illuminate is located in Irvine, California.
24   California is the “nerve center” of their business activities – the place where their
25   officers direct, control, and coordinate the companies’ activities, including their data
26   security functions and policy, financial, and legal decisions.
27
28   123
           See ¶ 44 above.
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 1         239. Illuminate’s response to the Data Breach at issue here, and corporate
 2   decisions surrounding such response, were made from and in California.
 3         240. Illuminate’s breaches of duty to Plaintiffs and Nationwide Class
 4   members emanated from California.
 5         241. Application of California law to the Nationwide Class with respect to
 6   Plaintiffs’ and Class Members’ claims is neither arbitrary nor fundamentally unfair
 7   because California has significant contacts and a significant aggregation of contacts
 8   that create a state interest in the claims of Plaintiffs and the Nationwide Class.
 9         242. Under California’s choice of law principles, which are applicable to this
10   action, the common law of California applies to the nationwide common law claims
11   of all Nationwide Class members. Additionally, given California’s significant
12   interest in regulating the conduct of businesses operating within its borders,
13   California’s Unfair Competition Law and Confidentiality of Medical Information Act
14   may be applied to non-resident plaintiffs as against Illuminate.
15                            CLASS ACTION ALLEGATIONS
16         243. Plaintiffs bring this class action pursuant to Rule 23 of the Federal Rules
17   of Civil Procedure on behalf of themselves and on behalf of all others similarly
18   situated.
19         244. The Nationwide Class that Plaintiffs seek to represent is defined as
20   follows:
21                Nationwide Class:
                  All persons in the United States whose Private
22                Information was exposed to unauthorized third parties
23                as a result of the compromise of Illuminate Education,
                  Inc. that occurred between December 2021 and
24                January 2022.
25         245. In the alternative to the Nationwide Class, Plaintiffs seek certification
26   of the following state Sub-Classes:
27                Colorado Sub-Class:
28                All residents of Colorado whose Private Information
                  was exposed to unauthorized third parties as a result
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 1                of the compromise of Illuminate Education, Inc. that
 2                occurred between December 2021 and January 2022.

 3
                  California Sub-Class:
 4                All residents of California whose Private Information
 5                was exposed to unauthorized third parties as a result
                  of the compromise of Illuminate Education, Inc. that
 6                occurred between December 2021 and January 2022.
 7
                  New York Sub-Class:
 8                All residents of New York whose Private Information
 9                was exposed to unauthorized third parties as a result
                  of the compromise of Illuminate Education, Inc. that
10                occurred between December 2021 and January 2022.
11         246. Plaintiffs reserve the right to modify, change, or expand the Class
12   definitions, including proposing additional subclasses, based on discovery and
13   further investigation.
14         247. Excluded from the Classes are: (1) any Judge or Magistrate presiding
15   over this action and members of their families; (2) Defendant, Defendant’s
16   subsidiaries, parents, successors, predecessors, and any entity in which Defendant
17   has a controlling interest, and its current or former employees, officers, and directors;
18   (3) counsel for Plaintiffs and Defendant; and (4) legal representatives, successors, or
19   assigns of any such excluded persons.
20         248. The Classes meet all of the criteria required by Federal Rule of Civil
21   Procedure 23(a).
22         249. Numerosity: The Class Members are so numerous that joinder of all
23   members is impracticable. Though the exact number and identities of Class Members
24   are unknown at this time, it appears that the membership of the Classes are in the tens
25   of thousands. The identities of Class members are also ascertainable through
26   Defendant’s records.
27         250. Commonality: Common questions of law and fact exist as to all Class
28   Members. These common questions of law or fact predominate over any questions

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 1   affecting only individual members of the Class. Common questions include, but are
 2   not limited to, the following:
 3                  a.   Whether and to what extent Defendant had a duty to protect the
 4   Private Information of Plaintiffs and Class Members;
 5                  b.   Whether Defendant failed to adequately safeguard the Private
 6   Information of Plaintiffs and Class Members;
 7                  c.   Whether and when Defendant actually learned of the Data
 8   Breach;
 9                  d.   Whether Defendant adequately, promptly, and accurately
10   informed Plaintiffs and Class Members that their Private Information had been
11   compromised;
12                  e.   Whether Defendant failed to implement and maintain reasonable
13   security procedures and practices appropriate to the nature and scope of the
14   information compromised in the Data Breach;
15                  f.   Whether Defendant adequately addressed and fixed the
16   vulnerabilities which permitted the Data Breach to occur;
17                  g.   Whether Defendant was negligent or negligent per se;
18                  h.   Whether Plaintiffs and Class Members are entitled to relief from
19   Defendant as a result of Defendant’s misconduct, and if so, in what amounts; and
20                  i.   Whether Class Members are entitled to injunctive and/or
21   declaratory relief to address the imminent and ongoing harm faced as a result of the
22   Data Breach.
23         251. Typicality: Plaintiffs’ claims are typical of the claims of the Classes
24   they seek to represent, in that the named Plaintiffs and all members of the proposed
25   Classes have suffered similar injuries as a result of the same misconduct alleged
26   herein. Plaintiffs have no interests adverse to the interests of the other members of
27   the Classes.
28

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 1         252. Adequacy: Plaintiffs will fairly and adequately protect the interests of
 2   the Classes and have retained attorneys well experienced in class actions and complex
 3   litigation as their counsel, including cases alleging breach of privacy and negligence
 4   claims arising from corporate misconduct.
 5         253. The Classes also satisfy the criteria for certification under Federal Rule
 6   of Civil Procedure 23(b) and 23(c). Among other things, Plaintiffs aver that the
 7   prosecution of separate actions by the individual members of the proposed class
 8   would create a risk of inconsistent or varying adjudication which would establish
 9   incompatible standards of conduct for Defendant; that the prosecution of separate
10   actions by individual class members would create a risk of adjudications with respect
11   to them which would, as a practical matter, be dispositive of the interests of other
12   Class Members not parties to the adjudications, or substantially impair or impede
13   their ability to protect their interests; that Defendant has acted or refused to act on
14   grounds that apply generally to the proposed Classes, thereby making final injunctive
15   relief or declaratory relief described herein appropriate with respect to the proposed
16   Classes as a whole; that questions of law or fact common to the Classes predominate
17   over any questions affecting only individual members and that class action treatment
18   is superior to other available methods for the fair and efficient adjudication of the
19   controversy which is the subject of this action. Plaintiffs also aver that certification
20   of one or more subclasses or issues may be appropriate for certification under Federal
21   Rule of Civil Procedure 23(c). Plaintiffs further state that the interests of judicial
22   economy will be served by concentrating litigation concerning these claims in this
23   Court, and that the management of the Classes will not be difficult.
24         254. Plaintiffs and other members of the Classes have suffered damages as a
25   result of Defendant’s unlawful and wrongful conduct. Absent a class action,
26   Defendant’s unlawful and improper conduct shall, in large measure, not go remedied.
27   Absent a class action, the members of the Classes will not be able to effectively
28   litigate these claims and will suffer further losses.

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 1                                 CLAIMS FOR RELIEF
 2                                         COUNT I
                                          Negligence
 3
 4         255. Plaintiffs reallege each and every allegation contained above, and
 5   incorporate by reference all other paragraphs of this Complaint as if fully set forth
 6   herein.
 7         256. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
 8   the Colorado, California and New York Subclasses.
 9         257. Illuminate negligently sold its services and products as well protected,
10   claiming that “[w]e take security measures—physical, electronic, and procedural—
11   to help defend against the unauthorized access and disclosure of your information”
12   despite leaving Plaintiffs’ and the Classes’ Private Information exposed to
13   unauthorized access.
14         258. Defendant was entrusted with, stored, and otherwise had access to the
15   Private Information of Plaintiffs and Class Members.
16         259. Defendant knew, or should have known, of the risks inherent to storing
17   the Private Information of Plaintiffs and Class Members, and to not ensuring that its
18   products and services were secure. These risks were reasonably foreseeable to
19   Defendant.
20         260. Defendant owed duties of care to Plaintiffs and Class Members whose
21   Private Information had been entrusted to them.
22         261. Further, after discovering that cybercriminals had infiltrated its systems
23   and networks, Illuminate failed to timely notify the schools districts and former and
24   current students or perform a proper forensic analysis of what data had been exposed,
25   consequently, causing notice to Plaintiffs, Class, and Subclass Members to be
26   untimely and insufficient to identify what Private Information had been exposed.
27         262. Illuminate had additional duties to safeguard Plaintiffs, Class and
28   Subclass Members’ data through the following statutes and regulations:

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 1                a.     Pursuant to the FTC Act, 15 U.S.C. § 45, Illuminate had a duty to
 2   provide fair and adequate computer systems and data security practices to safeguard
 3   Plaintiffs, Class and Subclass Members’ Private Information.
 4                b.     Pursuant to HIPAA, 42 U.S.C. § 1320d, Illuminate had a duty to
 5   securely store and maintain the Plaintiffs, Class and Subclass Members' PHI.
 6                c.     Pursuant to the Children’s Online Privacy Protection Act, 15
 7   U.S.C. §§ 6501-6505, Illuminate had a “mandate[d]” duty “get parental consent up
 8   front before collecting personal information from children under 13” and to “provide
 9   parents with the right to review and delete their children's information.” Furthermore,
10   under Section 312.10 of COPPA, Illuminate could only “retain children's personal
11   information ‘for only as long as is reasonably necessary to fulfill the purpose for
12   which the information was collected[,]’” and thereafter had a duty to “delete
13   [children’s personal information] using reasonable measures to ensure it’s been
14   securely destroyed” even absent a parent’s request for the deletion of a child’s
15   personal information. 124
16                d.     Pursuant to the New York Education Law § 2-d, Illuminate had a
17   duty to securely store and maintain the Plaintiffs, Class and Subclass Members’
18   Private Information. The New York Education Law § 2d requires that “Each third
19   party contractor that enters into a contract or other written agreement with an
20   educational agency under which the third party contractor will receive student data
21   or teacher or principal data shall: except for authorized representatives of the third
22   party contractor to the extent they are carrying out the contract, not disclose any
23   personally identifiable information to any other party: uses encryption technology to
24   protect data while in motion or in its custody from unauthorized disclosure using a
25   technology or methodology specified by the secretary of the United States
26   124
        See FTC, Under COPPA, data deletion isn’t just a good idea. It’s the law. (May
27   31, 2018), https://www.ftc.gov/news-events/blogs/business-blog/2018/05/under-
     coppa-data-deletion-isnt-just-good-idea-its-law (last visited October 31, 2022).
28

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 1   department of health and human services in guidance issued under Section
 2   13402(H)(2) of Public Law 111-5.” New York Education Law § 2-d, 5. f. (3) and
 3   (5).
 4          263. Illuminate’s duty to use reasonable care in protecting confidential data
 5   arose not only as a result of the statutes and regulations described above, but also
 6   because Illuminate is bound by industry standards to protect confidential Private
 7   Information.
 8          264. Illuminate breached its duties, and thus was negligent, by failing to use
 9   reasonable measures to protect the Plaintiffs, Class and Subclass Members’ data. The
10   specific negligent acts and omissions committed by Illuminate include, but are not
11   limited to, the following:
12          a.      Failing to adopt, implement, and maintain adequate security measures
13          to safeguard Plaintiffs, Class and Subclass Members; Private Information;
14          b.   Failing to maintain the PHI and PI of Plaintiffs and the Class and Subclass
15          in encrypted form;
16          c.      Failing to adequately monitor the security of its networks and systems;
17          d.      Allowing unauthorized access to and exfiltration of Plaintiffs, Class,
18          Subclass Members’ Private Information;
19          e.      Failing to timely detect that Plaintiffs, Class and Subclass Members’
20          Private Information had been compromised;
21          f.      Failing to provide timely notice that Plaintiffs, Class and Subclass
22          Members’ Private Information had been compromised so those at risk could
23          take timely and appropriate steps to mitigate the potential for identity theft and
24          other damages; and
25          g.      Failing to provide adequate notice of what Private Information had been
26          compromised so that Plaintiffs, Class and Subclass Members at risk could take
27          timely and appropriate steps to mitigate the potential for identify theft and
28          other damages.

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 1         265. It was foreseeable to Illuminate that its failure to use reasonable
 2   measures to protect Plaintiffs, Class and Subclasses Members’ Private Information,
 3   including when it was warned its systems and networks were vulnerable to
 4   cyberattack, would result in injury to Plaintiffs, Class and Subclass members.
 5   Further, the breach of security was reasonably foreseeable given the known high
 6   frequency of                                         .
 7         266. It was additionally foreseeable to Illuminate that failure to timely and
 8   adequately provide notice of the Data Breach would result in Plaintiffs, Class and
 9   Subclass Members not being afforded the ability to timely safeguard their identities.
10         267. Defendant breached its duties to Plaintiffs and Class Members by failing
11   to provide fair, reasonable, or adequate data security in connection with marketing,
12   sale, and use of its services and products. Defendant had a duty to safeguard
13   Plaintiffs’ and Class Members’ Private Information and to ensure that their systems
14   and products adequately protected Private Information.
15         268. But for Defendant’s wrongful and negligent breach of its duties owed to
16   Plaintiffs and Class Members, Plaintiffs and Class Members would not have been
17   injured.
18         269. Defendant acted with wanton disregard for the security of Plaintiffs’ and
19   Class Members’ Private Information.
20         270. The injury and harm suffered by Plaintiffs and Class Members was the
21   reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew
22   or should have known that it was failing to meet its duties, and that Defendant’s
23   breach would cause Plaintiffs and Class Members to experience the foreseeable
24   harms associated with the exposure of their Private Information.
25         271. As a direct and proximate result of Defendant’s negligent conduct,
26   Plaintiffs and Class Members have suffered injury, including but not limited to: (i)
27   actual identity theft; (ii) the loss of the opportunity of how their Private Information
28   is used; (iii) the compromise, publication, and/or theft of their Private Information;

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 1   (iv) out-of-pocket expenses associated with the prevention, detection, and recovery
 2   from identity theft, tax fraud, and/or unauthorized use of their Private Information;
 3   (v) the continued risk to their Private Information, which may remain in Defendant’s
 4   possession and is subject to further unauthorized disclosures so long as Defendant
 5   fails to undertake appropriate and adequate measures to protect Plaintiffs’ and Class
 6   Members’ Private Information in its continued possession; and (vi) future costs in
 7   terms of time, effort, and money that will be expended to prevent, detect, contest, and
 8   repair the impact of the Private Information compromised as a result of the Data
 9   Breach for the remainder of the lives of Plaintiffs and Class Members.
10           272. As a direct and proximate result of Defendant’s negligent conduct,
11   Plaintiffs and Class Members face an increased risk of future harm.
12           273. Plaintiffs are entitled to compensatory and consequential damages
13   suffered as a result of the Data Breach.
14           274. Plaintiffs are also entitled to injunctive relief requiring Illuminate to,
15   e.g., (i) strengthen its data security programs and monitoring procedures; (ii) submit
16   to future annual audits of those systems and monitoring procedures; and (iii)
17   immediately provide robust and adequate credit monitoring to all Class members,
18   and any other relief this Court deems just and proper.
19           275. As a direct and proximate result of Defendant’s negligent conduct,
20   Plaintiffs and Class Members and are entitled to damages in an amount to be proven
21   at trial.
22                                        COUNT II
                                       Negligence Per Se
23
24           276. Plaintiffs reallege each and every allegation contained above, and
25   incorporate by reference all other paragraphs of this Complaint as if fully set forth
26   herein.
27           277. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
28   the Colorado, California and New York Subclasses.

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 1         278. Pursuant to the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.
 2   § 45, Defendant had a duty to provide adequate data security practices to safeguard
 3   Plaintiffs’ and Class Members’ Private Information.
 4         279. Pursuant to the Family Educational Rights and Privacy Act (“FERPA”),
 5   20 U.S.C. § 1232g, Defendant had a duty to implement reasonable safeguards to
 6   protect Plaintiffs’ and Class Members’ Private Information.
 7         280. Pursuant to HIPAA, 42 U.S.C. § 1320d, Illuminate had a duty to
 8   securely store and maintain the Plaintiffs, Class and Subclass Members’ PHI.
 9         281. Pursuant to the California Consumer Privacy Act (“CCPA”), Cal. Civ.
10   Code §§ 1798.100, et seq., Defendant had a duty to implement reasonable and
11   adequate safeguards and security practices to protect Plaintiffs’ and Class Members’
12   Private Information.
13         282. Pursuant to the Children’s Online Privacy Protection Act of 1998
14   (“COPPA”), 15 U.S.C. § 6501-6505, Defendant had a duty to provide adequate data
15   security practices to safeguard Plaintiffs’ and Class Members’ Private Information.
16         283. Pursuant to the COPPA, Illuminate had a duty to: (i) get parental consent
17   before collecting personal information from children under 13; (ii) provide parents
18   with the right to review and delete their children’s information; and (iii) could only
19   retain children’s personal information for only as long as is reasonably necessary to
20   fulfill the purpose for which the information was collected, and thereafter had a duty
21   to delete any and all children’s personal information using reasonable measures to
22   ensure it’s been securely destroyed, even absent a parent’s request for the deletion of
23   a child’s personal information.
24         284. Pursuant to other state and federal laws requiring the confidentiality of
25   Private Information, including, but not limited to, the FTC Act, FERPA, and COPPA,
26   among other laws, Defendant had a duty to implement reasonably safeguards to
27   protect Plaintiffs’ and Class Members’ Private Information.
28         285. Defendant breached its duties to Plaintiffs and Class Members under the

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 1   FTC Act, FERPA, and COPPA, among other laws, by failing to provide fair,
 2   reasonable, or adequate data security in order to safeguard Plaintiffs’ and Class
 3   Members’ Private Information.
 4         286. Defendant’s failure to comply with applicable laws and regulations
 5   constitutes negligence per se.
 6         287. But for Defendant’s wrongful and negligent breach of its duties owed to
 7   Plaintiffs and Class Members, Plaintiffs and Class Members would not have been
 8   injured.
 9         288. The injury and harm suffered by Plaintiffs and Class Members was the
10   reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew
11   or should have known that it was failing to meet its duties, and that its breach would
12   cause Plaintiffs and Class Members to experience the foreseeable harms associated
13   with the exposure of their Private Information.
14         289. As a direct and proximate result of Defendant’s negligent conduct,
15   Plaintiffs and Class Members face an increased risk of future harm.
16         290. As a direct and proximate result of Defendant’s negligent conduct,
17   Plaintiffs and Class Members have suffered injury and are entitled to damages in an
18   amount to be proven at trial.
19                                        COUNT III
                                      Invasion of Privacy
20
21         291. Plaintiffs reallege each and every allegation contained above and
22   incorporate by reference all other paragraphs of this Complaint as if fully set forth
23   herein.
24         292. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
25   the Colorado and California Subclasses.
26         293. Plaintiffs and Class Members had a reasonable and legitimate
27   expectation of privacy in the Private Information that Defendant disclosed without
28   authorization.

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 1         294. Defendant owed a duty to Plaintiffs and Class Members to keep their
 2   Private Information confidential.
 3         295. Defendant failed to protect and release to unknown and unauthorized
 4   third parties the Private Information of Plaintiffs and Class Members.
 5         296. By failing to keep Plaintiffs’ and Class Members’ Private Information
 6   safe and disclosing Private Information to unauthorized parties for unauthorized use,
 7   Defendant unlawfully invaded Plaintiffs’ and Class Member’s privacy by, among
 8   others, (i) intruding into Plaintiffs’ and Class Members’ private affairs in a manner
 9   that would be highly offensive to a reasonable person; (ii) improperly using their
10   Private Information properly obtained for a specific purpose for another purpose, or
11   disclosing it to a third party; (iii) failing to adequately secure their           Private
12   Information from disclosure to unauthorized persons; and (iv) enabling the disclosure
13   of Plaintiffs’ and Class Members’ Private Information without consent.
14         297. Defendant knew, or acted with reckless disregard of the fact that, a
15   reasonable person in Plaintiffs’ and Class Members’ position would consider their
16   actions highly offensive.
17         298. As a proximate result of such unauthorized disclosures, Plaintiffs’ and
18   Class Members’ reasonable expectations of privacy in their Private Information was
19   unduly frustrated and thwarted, and caused damages to Plaintiffs and Class Members.
20         299. In failing to protect Plaintiffs’ and Class Members’ Private Information,
21   and in disclosing Plaintiffs’ and Class Members’ Private Information, Defendant
22   acted with malice and oppression and in conscious disregard of Plaintiffs’ and Class
23   Members’ rights to have such information kept confidential and private.
24         300. Plaintiffs seek injunctive relief on behalf of the Classes, restitution, as
25   well as any and all other relief that may be available at law or equity. Unless and until
26   enjoined, and restrained by order of this Court, Defendant’s wrongful conduct will
27   continue to cause irreparable injury to Plaintiffs and Class Members. Plaintiffs and
28   Class Members have no adequate remedy at law for the injuries in that a judgment

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 1   for monetary damages will not end the invasion of privacy for Plaintiffs and the
 2   Classes.
 3                                       COUNT IV
                                    Breach of Confidence
 4
 5          301. Plaintiffs reallege each and every allegation contained above and
 6   incorporate by reference all other paragraphs of this Complaint as if fully set forth
 7   herein.
 8          302. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
 9   the Colorado, California and New York Subclasses.
10          303. At all times during Plaintiffs’ and Class Members’ interactions with
11   Defendant, Defendant was fully aware of the confidential and sensitive nature of
12   Plaintiffs’ and Class Members’ Private Information that Plaintiffs and Class
13   Members provided to Defendant.
14          304. Defendant’s relationship with Plaintiffs and Class Members was
15   governed by terms and expectations that Plaintiffs’ and Class Members’ Private
16   Information would be collected, stored, and protected in confidence, and would not
17   be disclosed to unauthorized third parties.
18          305. Plaintiffs and Class Members provided their Private Information to
19   Defendant with the explicit and implicit understandings that Defendant would protect
20   and not permit the Private Information to be disseminated to any unauthorized third
21   parties.
22          306. Plaintiffs and Class Members provided their Private Information to
23   Defendant with the explicit and implicit understandings that Defendant would take
24   precautions to protect that Private Information from unauthorized disclosure.
25          307. Defendant voluntarily received in confidence Plaintiffs’ and Class
26   Members’ Private Information with the understanding that Private Information would
27   not be disclosed or disseminated to unauthorized third parties or to the public.
28          308. Due to Defendant’s failure to prevent and avoid the Data Breach from

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 1   occurring, Plaintiffs’ and Class Members’ Private Information was disclosed and
 2   misappropriated to unauthorized third parties beyond Plaintiffs’ and Class Members’
 3   confidence, and without their express permission.
 4         309. As a proximate result of such unauthorized disclosures, Plaintiffs and
 5   Class Members suffered damages.
 6         310. But for Defendant’s disclosure of Plaintiffs’ and Class Members’
 7   Private Information in violation of the parties’ understanding of confidence, their
 8   Private Information would not have been compromised, stolen, viewed, access, and
 9   used by unauthorized third parties.
10         311. The injury and harm suffered by Plaintiffs and Class Members was the
11   reasonably foreseeable result of Defendant’s unauthorized disclosure of Plaintiffs’
12   and Class Members’ Private Information. Defendant knew or should have known
13   that its methods of accepting, storing, transmitting, and using Plaintiffs’ and Class
14   Members’ Private Information was inadequate.
15         312. As a direct and proximate result of Defendant’s negligent conduct,
16   Plaintiffs and Class Members have suffered injury, including but not limited to: (i)
17   actual identity theft; (ii) the loss of the opportunity of how their Private Information
18   is used; (iii) the compromise, publication, and/or theft of their Private Information;
19   (iv) out-of-pocket expenses associated with the prevention, detection, and recovery
20   from identity theft, and/or unauthorized use of their Private Information; (v) the
21   continued risk to their Private Information, which may remain in Defendant’s
22   possession and is subject to further unauthorized disclosures so long as Defendant
23   fails to undertake appropriate and adequate measures to protect Plaintiffs’ and Class
24   Members’ Private Information in its continued possession; and (vi) future costs in
25   terms of time, effort, and money that will be expended to prevent, detect, contest, and
26   repair the impact of the Private Information compromised as a result of the Data
27   Breach for the remainder of the lives of Plaintiffs and Class Members.
28         313. As a direct proximate result of such unauthorized disclosures, Plaintiffs

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 1   and Class Members have suffered and will continue to suffer other forms of injury
 2   and/or harm, including, but not limited to, anxiety, emotional distress, loss of privacy,
 3   and other economic and non-economic losses.
 4                                         COUNT V
                                       Breach of Contract
 5
 6         314. Plaintiffs reallege each and every allegation contained above and
 7   incorporate by reference all other paragraphs of this Complaint as if fully set forth
 8   herein.
 9         315. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
10   the Colorado, California and New York Subclasses.
11         316. Plaintiffs and Class Members provided their Private Information to
12   Defendant with the explicit and implicit understandings that Defendant would take
13   precautions to protect that Private Information from unauthorized disclosure.
14         317. Plaintiffs and the Class Members are parties to contracts with
15   Illuminate. Under the circumstances, recognition of a right to performance by
16   Plaintiffs and the Class Members is appropriate to effectuate the intentions of the
17   parties to these contracts. One or more of the parties to these contracts intended to
18   give Plaintiffs and the Class Members the benefit of the performance promised in the
19   contracts. Additionally, and/or in the alternative, Plaintiffs and Class Members were
20   intended third-party beneficiaries of the contracts between Illuminate and their
21   respective school districts/governing bodies, and therefore are able to enforce their
22   rights under the contracts. Illuminate intended to benefit Plaintiffs and the Class when
23   it came into possession of the Private Information through contracts that it entered
24   into with the students’ school districts, pursuant to which it stored the students’
25   Private Information.
26         318. Defendant breached these agreements, which directly and/or
27   proximately caused Plaintiffs and the Class Members to suffer substantial damages.
28         319. Accordingly, Plaintiffs and Class Members are entitled to damages,

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 1   restitution, disgorgement of profits and other relief in an amount to be proven at trial.
 2                                         COUNT VI
                                       Invasion of Privacy
 3
 4          320. Plaintiffs reallege each and every allegation contained above and
 5   incorporate by reference all other paragraphs of this Complaint as if fully set forth
 6   herein.
 7          321. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
 8   the Colorado, California and New York Subclasses.
 9          322. California established the right to privacy in Article 1, Section 1 of the
10   California Constitution.
11          323. The State of California recognizes the tort of Intrusion into Private
12   Affairs, and adopts the formulation of that tort found in the Restatement (Second) of
13   Torts which states:
14          One who intentionally intrudes, physically or otherwise, upon the solitude or
15          seclusion of another or his private affairs or concerns, is subject to liability to
16          the other for invasion of his privacy, if the intrusion would be highly offensive
17          to a reasonable person. Restatement (Second) of Torts § 652B (1977).
18          324. Plaintiffs and Class Members had a legitimate and reasonable
19   expectation of privacy with respect to their Private Information and were accordingly
20   entitled to the protection of this information against disclosure to unauthorized third
21   parties.
22          325. Defendant owed a duty to current and former students, including
23   Plaintiffs and Class Members, to keep their Private Information confidential.
24          326. The unauthorized release of Private Information, especially the type
25   related to personal health information, is highly offensive to a reasonable person.
26          327. The intrusion was into a place or thing, which was private and is entitled
27   to be private. Plaintiffs and Class Members disclosed their Private Information to
28   Defendant as part of their use of Defendant’s services, but privately, with the

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 1   intention that the Private Information would be kept confidential and protected from
 2   unauthorized disclosure. Plaintiffs and Class Members were reasonable in their belief
 3   that such information would be kept private and would not be disclosed without their
 4   authorization.
 5         328. The Data Breach constitutes an intentional interference with Plaintiffs”
 6   and Class Members’ interest in solitude or seclusion, either as to their persons or as
 7   to their private affairs or concerns, of a kind that would be highly offensive to a
 8   reasonable person.
 9         329. Defendant acted with a knowing state of mind when they permitted the
10   Data Breach because they knew its information security practices were inadequate
11   and would likely result in a data breach such as the one that harmed Plaintiffs and
12   Class Members.
13         330. Acting with knowledge, Defendant had notice and knew that its
14   inadequate cybersecurity practices would cause injury to Plaintiffs and Class
15   Members.
16         331. As a proximate result of Defendant’s acts and omissions, Plaintiffs’ and
17   Class Members’ Private Information was disclosed to and used by third parties
18   without authorization in the manner described above, causing Plaintiffs and Class
19   Members to suffer damages.
20         332. Unless and until enjoined, and restrained by order of this Court,
21   Defendant’s wrongful conduct will continue to cause great and irreparable injury to
22   Plaintiffs and Class Members in that the Private Information maintained by
23   Defendant can be viewed, distributed, and used by unauthorized persons.
24         333. Plaintiffs and Class Members have no adequate remedy at law for the
25   injuries in that a judgment for monetary damages will not end the invasion of privacy
26   for Plaintiffs and Class Members.
27
28

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 1                                      COUNT VII
                    Violation of the California Consumer Privacy Act,
 2                          Cal. Civil Code §§ 1798.100, et seq.
 3         334. Plaintiffs Chambers, Vitro and Deniz (“California Plaintiffs”) reallege
 4   each and every allegation contained above and incorporates by reference all other
 5   paragraphs of this Complaint as if fully set forth herein.
 6         335. California Plaintiffs brings this claim on behalf of the Class.
 7         336. At all times during California Plaintiffs’ and Class Members’
 8   interactions with Defendant, Defendant was fully aware of the confidential and
 9   sensitive nature of California Plaintiffs’ and Class Members’ Private Information that
10   California Plaintiffs and Class Members provided to Defendant.
11         337. Defendant is a business under California Civil Code 1798.140(c)
12   because it collects PII and PHI. On information and belief, Defendant, alone, or
13   jointly with others, such as educators using Defendant’s platforms, use the collected
14   PII and PHI to determine what academic or behavioral interventions or next steps are
15   necessary. It is also plausible that Defendant processes the collected PII and PHI to
16   further develop its many platforms.
17         338. Defendant’s relationship with California Plaintiffs and Class Members
18   was governed by terms and expectations that California Plaintiffs’ and Class
19   Members’ Private Information would be collected, stored, and protected in
20   confidence, and would not be disclosed to unauthorized third parties.
21         339. California Plaintiffs and Class Members provided their Private
22   Information to Defendant with the explicit and implicit understandings that
23   Defendant would take precautions to protect that Private Information from
24   unauthorized disclosure.
25         340. Due to Defendant’s failure to prevent and avoid the Data Breach from
26   occurring, California Plaintiffs’ and Class Members’ Private Information was
27   disclosed and misappropriated to unauthorized third parties beyond Plaintiff’s and
28   Class Members’ confidence, and without their express permission.

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 1         341. Through the above-detailed conduct, Defendant violated California
 2   Civil Code section 1798.150 by failing to prevent California Plaintiffs’ and Class
 3   Members’ nonencrypted Private Information from unauthorized access and
 4   exfiltration, theft, or disclosure as a result of Defendant’s violations of their duty to
 5   implement and maintain reasonable security procedures and practices appropriate to
 6   the nature of the information.
 7         342. As a proximate result of such unauthorized disclosures, California
 8   Plaintiffs’ and Class Members’ Private Information, including, among others, names,
 9   dates of birth, academic information, special education status, financial status, and
10   contact information, was subjected to unauthorized access and exfiltration, theft, and
11   disclosure.
12         343. California Plaintiffs seek injunctive relief on behalf of the Classes as
13   well as other equitable relief. Unless and until enjoined, and restrained by order of
14   this Court, Defendant’s wrongful conduct will continue to cause irreparable injury to
15   California Plaintiffs and Class Members. California Plaintiffs and Class Members
16   have no adequate remedy at law for the injuries in that a judgment for monetary
17   damages will not end the invasion of privacy for California Plaintiffs and the Classes.
18         344. In accordance with Civil Code section 1798.150(b), California Plaintiffs
19   will serve Defendant with notice of violation of Civil Code section 1798.150(a) and
20   a demand for relief. If Defendant fails to properly respond to California Plaintiffs
21   notice letter or agree to timely and adequately rectify the violations detailed above,
22   Plaintiffs will also seek actual, punitive, and statutory damages, as well as restitution,
23   attorneys’ fees and costs, and any other relief the Court deems proper.
24                                      COUNT VIII
                    Violation of the California Unfair Competition Law,
25                        Cal. Bus. & Prof. Code §§ 17200, et seq.
26         345. Plaintiffs Chambers, Vitro and Deniz (“California Plaintiffs”) reallege
27   each and every allegation contained above and incorporates by reference all other
28   paragraphs of this Complaint as if fully set forth herein.

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 1         346. California Plaintiffs bring this claim on behalf of the Class.
 2         347. California Plaintiffs, the members of the Class, and Defendant are a
 3   “person” or “persons,” within the meaning of Section 17201 of the California Unfair
 4   Competition Law (“UCL”).
 5         348. Defendant has engaged in unfair competition within the meaning of
 6   California Business & Professions Code section 17200, et seq., because Defendant’s
 7   conduct, as described herein, violated the California Consumer Privacy Act, Cal. Civ.
 8   Code §§ 1798.100, et seq. Further, Defendant breached its duties pursuant to the FTC
 9   Act, 15 U.S.C. § 45, FERPA, HIPAA, CCPA, and COPPA to implement reasonable
10   safeguards to protect California Plaintiffs’ and Class Member’s Private Information.
11   Thus, Defendant violated the UCL’s unlawful, unfair, and fraudulent prongs.
12         349. Defendant’s conduct, as described herein, violated the UCL’s unlawful
13   prong because it violates the California Consumer Privacy Act, Cal. Civ. Code §§
14   1798.100, et seq., the FTC Act, 15 U.S.C. § 45, FERPA, HIPAA, CCPA, and
15   COPPA.
16         350. Defendant’s conduct, as described herein, violated the UCL’s unfair
17   prong because Defendant promised adequate data privacy and security practices and
18   procedures when such practices were deficient. Additionally, these unfair acts and
19   practices were immoral unethical, oppressive, unscrupulous, unconscionable, and/or
20   substantially injurious to Plaintiff and Class members. Defendant's practice was also
21   contrary to legislatively declared and public policies that seek to protect consumer
22   data and ensure that entities who solicit or are entrusted with personal data utilize
23   appropriate security measures, as reflected by laws named herein. Defendant likewise
24   engaged in unfair acts and practices by failing to disclose the Data Breach in a timely
25   and accurate manner.
26         351. Plaintiffs and the Class may proceed under the balancing or tethering
27   test because on balance, the gravity of Defendant’s violations of children’s privacy
28   rights vastly outweighs the utility of its conduct and because Plaintiffs have identified

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 1   a number of important public policy considerations and statutes that Defendant has
 2   violated.
 3         352. Defendant’s conduct, as described herein, violated the UCL’s fraudulent
 4   prong by representing that it would maintain adequate data privacy and security
 5   practices and procedures to safeguard PII and PHI, representing and advertising that
 6   it did and would comply with the requirement of relevant federal and state laws
 7   pertaining to the privacy and security of the Class's PII and PHI, and omitting,
 8   suppressing, and concealing the material fact of the inadequacy of the privacy and
 9   security protections for the Class’s PII and PHI.
10         353. California Plaintiffs have standing to pursue this claim because they
11   have been injured by virtue of the wrongful conduct alleged herein.
12         354. The Unfair Competition Law is, by its express terms, a cumulative
13   remedy, such that remedies under its provisions can be awarded in addition to those
14   provided under separate statutory schemes and/or common law remedies, such as
15   those alleged in the other Counts of this Complaint. See Cal. Bus. & Prof. Code §
16   17205.
17         355. As a direct and proximate cause of Defendant’s conduct, which
18   constitutes unlawful business practices as alleged herein, California Plaintiffs and
19   Class Members have been damaged and suffered ascertainable losses due to: (i)
20   actual identity theft; (ii) the loss of the opportunity of how their Private Information
21   is used; (iii) the compromise, publication, and/or theft of their Private Information;
22   (iv) out-of-pocket expenses associated with the prevention, detection, and recovery
23   from identity theft, fraud, and/or unauthorized use of their Private Information; (v)
24   the continued risk to their Private Information, which may remain in Defendant’s
25   possession and is subject to further unauthorized disclosures so long as Defendant
26   fails to undertake appropriate and adequate measures to protect California Plaintiffs’
27   and Class Members’ Private Information in its continued possession; and (vi) future
28   costs in terms of time, effort, and money that will be expended to prevent, detect,

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 1   contest, and repair the impact of the Private Information compromised as a result of
 2   the Data Breach for the remainder of the lives of California Plaintiffs and Class
 3   Members.
 4         356. California Plaintiffs and Class Members are thereby entitled to recover
 5   restitution and equitable relief, including disgorgement or ill-gotten gains, refunds of
 6   moneys, interest, reasonable attorneys’ fees, filing fees, and the costs of prosecuting
 7   this class action, as well as any and all other relief that may be available at law or
 8   equity.
 9                                      COUNT IX
                    Violation of the California Customer Records Act,
10                           Cal. Civ. Code §§ 1798.80, et seq.
11         357. Plaintiffs Chambers, Vitro and Deniz (“California Plaintiffs”) reallege
12   each and every allegation contained above and incorporate by reference all other
13   paragraphs of this Complaint as if fully set forth herein.
14         358. California Plaintiffs bring this claim on behalf of the Class.
15         359. “[T]o ensure that Personal Information about California residents is
16   protected,” the California legislature enacted Cal. Civ. Code § 1798.81.5, which
17   requires that any business that “owns, licenses, or maintains Personal Information
18   about a California resident shall implement and maintain reasonable security
19   procedures and practices appropriate to the nature of the information, to protect the
20   Personal Information from unauthorized access, destruction, use, modification, or
21   disclosure.”
22         360. Illuminate is a business that owns, maintains, and licenses “personal
23   information”, within the meaning of Cal. Civ. Code § 1798.81.5(d)(1), about
24   California Plaintiffs and Class Members.
25         361. Businesses that own or license computerized data that includes personal
26   information, are required to notify California residents when their personal
27   information has been acquired (or is reasonably believed to have been acquired) by
28   unauthorized persons in a data security breach “in the most expedient time possible

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 1   and without unreasonable delay.” Cal. Civ. Code § 1798.82. Among other
 2   requirements, the security breach notification must include “the types of Personal
 3   Information that were or are reasonably believed to have been the subject of the
 4   breach.” Id.
 5         362. Illuminate is a business that owns or licenses computerized data that
 6   includes personal information as defined by Cal. Civ. Code § 1798.82(h).
 7         363. California Plaintiffs and Class Members’ Private Information includes
 8   “personal information” as covered by Cal. Civ. Code §§ 1798.81.5(d)(1), 1798.82(h).
 9         364. Because Illuminate reasonably believed that California Plaintiffs and
10   Class Members’ Private Information was acquired by unauthorized persons during
11   the Data Breach, Illuminate had an obligation to disclose the Data Breach in a timely
12   and accurate fashion as mandated by Cal. Civ. Code § 1798.82.
13         365. By failing to disclose the Data Breach in a timely and accurate manner,
14   Illuminate violated Cal. Civ. Code § 1798.82.
15         366. As a direct and proximate result of Illuminate’s violations of the Cal.
16   Civ. Code §§ 1798.81.5 and 1798.82, California Plaintiffs’ and Class Members
17   suffered damages, as described above.
18         367. California Plaintiffs and Class Members seek relief under Cal. Civ.
19   Code § 1798.84, including actual damages and injunctive relief.
20                                       COUNT X
         Violation of the California Confidentiality of Medical Information Act,
21                              Cal. Civ. Code § 56, et seq.
22         368. Plaintiffs Chambers, Vitro and Deniz (“California Plaintiffs”) reallege
23   each and every allegation contained above and incorporates by reference all other
24   paragraphs of this Complaint as if fully set forth herein.
25         369. California Plaintiffs brings this claim on behalf of the Class.
26         370. The California Confidentiality of Medical Information Act (“CMIA”)
27   prohibits, among other things, unauthorized disclosure of private medical
28   information. Cal. Civ. Code §§ 56, et seq.

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 1            371. California Plaintiffs provided their PHI to the schools they attended
 2   which is a “health care practitioner” and is a “provider of health care” as defined by
 3   Cal. Civ. Code § 56.05(j).
 4            372. California Plaintiffs are “patients” as defined by Cal. Civ. Code §
 5   56.05(k).
 6            373. Illuminate is a “provider of health care” subject to the CMIA because it
 7   is a "business that offers software or hardware to consumers, . . . that is designed to
 8   maintain medical information" in order to make the information available to an
 9   individual to which California Plaintiffs provided their PHI. Cal. Civ. Code § 56.06.
10            374. Illuminate stored in electronic form on its computer system California
11   Plaintiffs’ “medical information” as defined by Cal. Civ. Code § 56.05(j).
12            375. Illuminate’s systems were designed, in part, to make medical
13   information available to schools by providing cloud-based computing solutions
14   through which the schools could store, access, and manage current and former
15   students’ medical information that are part of their school records.
16            376. California Plaintiffs did not provide Illuminate authorization nor was
17   Illuminate otherwise authorized to disclose California Plaintiffs’ medical information
18   to an unauthorized third-party.
19            377. As described throughout this Complaint, Illuminate negligently
20   maintained, disclosed and released California Plaintiffs’ and the Class Members PHI
21   inasmuch as it did not implement adequate security protocols to prevent unauthorized
22   access to medical information, maintain an adequate electronic security system to
23   prevent data breaches, or employ industry standard and commercially viable
24   measures to mitigate the risks of any data the risks of any data breach or otherwise
25   comply with HIPAA data security requirements.
26            378. As a direct and proximate result of Illuminate's negligence, it disclosed
27   and released California Plaintiffs’ and Class Members’ PHI to an unauthorized third-
28   party.

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 1         379. Illuminate's unauthorized disclosure of former and current students’
 2   medical information that are part of their school records has caused injury to the
 3   California Plaintiffs and the Class Members.
 4         380. Upon information and belief, California Plaintiffs’ PHI was viewed by
 5   an unauthorized third party.
 6         381. Accordingly, California Plaintiffs’, individually and on behalf of the
 7   California Subclass, seek to recover actual, nominal (including $1000 nominal
 8   damages per disclosure under § 56.36(b)), and statutory damages (including under §
 9   56.36(c)) where applicable, together with reasonable attorneys’ fees and costs.
10                                       COUNT XI
                         Colorado Security Breach Notification Act,
11                           Colo. Rev. Stat. §§ 6-1-716, et seq.
12         382. Plaintiffs Cranor and Weiland (“Colorado Plaintiffs”), reallege each and
13   every allegation contained above, and incorporates by reference all other paragraphs
14   of this Complaint as if fully set forth herein.
15         383. Colorado Plaintiffs bring this claim on behalf of the Colorado Subclass.
16         384. Illuminate is a business that owns or licenses computerized data that
17   includes Personal Information as defined by Colo. Rev. Stat. §§ 6-1-716(1) and 6-1-
18   716(2).
19         385. Illuminate is required to accurately notify Colorado Plaintiffs and
20   Colorado Subclass Members if it becomes aware of a breach of its data security
21   program in the most expedient time possible and without unreasonable delay under
22   Colo. Rev. Stat. § 6-1-716(2).
23         386. Because Illuminate was aware of a breach of its security system, it had
24   an obligation to disclose the data breach in a timely and accurate fashion as mandated
25   by Colo. Rev. Stat. § 6-1-716(2).
26         387. By failing to disclose the Data Breach in a timely and accurate manner,
27   Illuminate violated Colo. Rev. Stat. § 6-1-716(2).
28         388. As a direct and proximate result of Illuminate’s violations of Colo. Rev.

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 1   Stat. § 6-1-716(2), Colorado Plaintiffs and Colorado Subclass Members suffered
 2   damages, as described above.
 3         389. Colorado Plaintiffs and Colorado Subclass Members seek relief under
 4   Colo. Rev. Stat. § 6-1-716(4), including actual damages and equitable relief.
 5                                        COUNT XII
                              Colorado Consumer Protection Act,
 6                             Colo. Rev. Stat. §§ 6-1-101, et seq.
 7         390. Plaintiffs Cranor and Weiland (“Colorado Plaintiffs”), reallege each and
 8   every allegation contained above, and incorporates by reference all other paragraphs
 9   of this Complaint as if fully set forth herein.
10         391. Colorado Plaintiffs bring this claim on behalf of the Colorado Subclass.
11         392. Illuminate is a “person” as defined by Colo. Rev. Stat. § 6-1-102(6).
12   Illuminate engaged in “sales” as defined by Colo. Rev. Stat. § 6-1-102(10).
13         393. Colorado Plaintiffs and Colorado Subclass Members, as well as the
14   general public, are actual or potential consumers of the products and services offered
15   by Illuminate or successors in interest to actual consumers.
16         394. Illuminate engaged in deceptive trade practices in the course of its
17   business, in violation of Colo. Rev. Stat. § 6-1-105(1), including, but not limited to:
18         395. Knowingly making a false representation as to the characteristics of
19   products and services;
20         396. Representing that services are of a particular standard, quality, or grade,
21   though Illuminate knew or should have known that there were or another;
22         397. Advertising services with intent not to sell them as advertised; and
23         398. Failing to disclose material information concerning its services which
24   was known at the time of an advertisement or sale when the failure to disclose the
25   information was intended to induce the consumer to enter into the transaction.
26         399. Failing to implement and maintain reasonable security and privacy
27   measures to protect Colorado Plaintiffs and Colorado Subclass Members’ Private
28   Information, which was a direct and proximate cause of the Data Breach;

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 1         400. Failing to identify foreseeable security and privacy risks, remediate
 2   identified security and privacy risks, and adequately improve security and privacy
 3   measures, which was a direct and proximate cause of the Data Breach.
 4         401. Failing to comply with common law and statutory duties pertaining to
 5   the security and privacy of Colorado Plaintiffs and Colorado Subclass Members’
 6   Private Information, including duties imposed by the FTC Act, 15 U.S.C. § 45,
 7   HIPAA, 42 U.S.C. § 1320d, COPPA, 15 U.S.C. §§ 6501-6505, and FERPA, among
 8   other laws, which was a direct and proximate cause of the Data Breach; and
 9         402. Misrepresenting that it would protect the privacy and confidentiality of
10   Colorado Plaintiffs’ and Colorado Subclass members’ Private Information, including
11   by implementing and maintaining reasonable security measures.
12         403. Illuminate also violated Colo. Rev. Stat. § 6-1-105(1) by committing the
13   acts described throughout.
14         404. Illuminate’s representations and omissions were material because they
15   were likely to deceive reasonable consumers about the adequacy of Illuminate’s data
16   security and ability to protect the confidentiality of consumers’ Private Information.
17         405. Illuminate’s representations and omissions were material because they
18   were likely to deceive reasonable consumers, including Colorado Plaintiffs and the
19   Colorado Subclass Members, that their Private Information was not exposed and
20   misled Colorado Plaintiffs’ and the Colorado Subclass Members into believing they
21   did not need to take actions to secure their identities.
22         406. Illuminate intended to mislead Colorado Plaintiffs and Colorado
23   Subclass Members and induce them to rely on its misrepresentations and omissions.
24         407. Had Illuminate disclosed to Colorado Plaintiffs and Class Members that
25   its data systems were not secure and, thus, vulnerable to attack, Illuminate would
26   have been unable to continue in business and it would have been forced to adopt
27   reasonable data security measures and comply with the law. Instead, Illuminate was
28   trusted with sensitive and valuable Private Information regarding an untold number

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 1   of students, including Colorado Plaintiffs, the Class, and the Colorado Subclass.
 2   Illuminate accepted the responsibility of being a steward of this data while keeping
 3   the inadequate state of its security controls secret from the public. Accordingly,
 4   because Illuminate held itself out as maintaining a secure platform for Private
 5   Information, Colorado Plaintiffs, the Class, and the Colorado Subclass Members
 6   acted reasonably in relying on Illuminate’s misrepresentations and omissions, the
 7   truth of which they could not have discovered.
 8         408. Illuminate acted intentionally, knowingly, and maliciously to violate
 9   Colorado’s Consumer Protection Act, and recklessly disregarded Colorado Plaintiffs
10   and Subclass Members’ rights.
11         409. As a direct and proximate result of Illuminate’s deceptive trade
12   practices, Colorado Subclass members suffered injuries to their legally protected
13   interests, including their legally protected interest in the confidentiality and privacy
14   of their personal information.
15         410. Illuminate’s deceptive trade practices significantly impact the public, as
16   numerous Colorado school districts were affected, and a yet untold number of
17   students’ Private Information was disclosed.
18         411. Colorado Plaintiffs and Colorado Subclass Members seek all monetary
19   and non-monetary relief allowed by law, including the greater of: (a) actual damages,
20   or (b) $500, or (c) three times actual damages (for Illuminate’s bad faith conduct);
21   injunctive relief; and reasonable attorneys’ fees and costs.
22                                   COUNT XIII
                           New York General Business Law § 349
23
24         412. Plaintiff Kisil, realleges each and every allegation contained above, and
25   incorporates by reference all other paragraphs of this Complaint as if fully set forth
26   herein.
27         413. Plaintiff brings this claim on behalf of the New York Subclass.
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 1         414. Defendant engaged in deceptive, unfair, and unlawful trade acts or
 2   practices in the conduct of trade or commerce and furnishing of services, in violation
 3   of N.Y. Gen. Bus. Law § 349(a), including but not limited to the following:
 4                (a) Defendant misrepresented material facts to Plaintiff and Class
 5                   Members by representing that they would maintain adequate data
 6                   privacy and security practices and procedures to safeguard Plaintiff
 7                   and New York Class Members’ Private Information and other data
 8                   from unauthorized disclosure, release, data breaches, and theft;

 9                (b) Defendant misrepresented material facts to Plaintiff and New York

10                   Class Members by representing that they did and would comply with

11                   the requirements of federal and state laws pertaining to the privacy
                     and security of Plaintiff and New York Class Members’ Private
12
                     Information and other data;
13
                  (c) Defendant omitted, suppressed, and concealed material facts of the
14
                      inadequacy of its privacy and security protections for Plaintiff and
15
                      New York Subclass Members’ Private Information and other data;
16
                  (d) Defendant engaged in deceptive, unfair, and unlawful trade acts or
17
                     practices by failing to maintain the privacy and security of Plaintiff
18
                     and New York Subclass Members’ Private Information and other
19
                     data, in violation of duties imposed by and public policies reflected
20
                     in applicable federal and state laws, resulting in the Data Breach.
21
                     These unfair acts and practices violated duties imposed by laws
22
                     including the Federal Trade Commission Act (15 U.S.C. § 45);
23              (e) Defendant engaged in deceptive, unfair, and unlawful trade acts or
24                  practices by failing to disclose the Data Breach to the Class in a
25                  timely and accurate manner, contrary to the duties imposed by N.Y.
26                  Gen. Bus. Law §§ 899-aa(2) and 899-bb (SHIELD Act).
27         415. Defendant’s failure constitutes false and misleading representations,
28   which have the capacity, tendency, and effect of deceiving or misleading consumers
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 1   (including Plaintiff and New York Subclass Members) regarding the security of its
 2   network and aggregation of Private Information and other data.
 3         416. Defendant omitted material facts including that it possessed and
 4   maintained Plaintiffs and the New York Subclass’ PHI and PI,
 5
 6
 7         417. The misrepresentations made to consumers (including Plaintiff and New
 8   York Subclass Members) were material misrepresentations (e.g., as to Defendant’s
 9   adequate protection of Private Information and other data), and consumers (including
10   Plaintiff and New York Subclass Members).
11         418. Defendant’s conduct is unconscionable, deceptive, and unfair, as it is
12   likely to, and did, mislead consumers acting reasonably under the circumstances. As
13   a direct and proximate result of Defendant’s conduct, Plaintiff and New York
14   Subclass Members have been harmed, in that they were not timely notified of the
15   Data Breach, which resulted in profound vulnerability of their Private Information
16   and other data.
17         419. As a direct and proximate result of Defendant’s unconscionable, unfair,
18   and deceptive acts and omissions, Plaintiff and New York Subclass Members’
19   Private Information and other data were disclosed to third parties without
20   authorization, causing and will continue to cause Plaintiff and New York Subclass
21   Members damages.
22         420. As a direct and proximate result of Defendant’s violation of NY GBL
23   §349, Plaintiff and New York Subclass Members have suffered, and continue to
24   suffer, injuries, damages arising from identify theft; contacting their financial
25   institutions; loss of use of funds; closing or modifying financial accounts; damages
26   from lost time and effort to mitigate the actual and potential impact of the data breach
27   on their lives; closely reviewing and monitoring their accounts for unauthorized
28   activity which is certainly impending; placing credit freezes and credit alerts with

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 1   credit reporting agencies; and damages from identify theft, which may take months
 2   or years to discover and detect.
 3            421. Plaintiff and New York Subclass Members seek all monetary and non-
 4   monetary relief allowed by law, injunctive relief, and reasonable attorneys’ fees and
 5   costs.
 6            422. The above constitutes violation of NY GBL §349.
 7            423. An actual controversy has arisen and now exists between Plaintiff and
 8   the putative Classes on the one hand, and Defendant on the other, concerning
 9   Defendant’s failure to protect Plaintiff’s and New York Subclass Members’ Private
10   Information in accordance with applicable state and federal regulations and the
11   agreements between the parties. Plaintiff and the New York Subclass Members
12   contend that Defendant failed to maintain adequate and reasonable privacy practices
13   to protect their Private Information while on the other hand, Defendant contends they
14   have complied with applicable state and federal regulations and its agreements with
15   Plaintiff and New York Subclass Members to protect their Private Information.
16            424. Accordingly, Plaintiff and New York Subclass Members are entitled to
17   and seek a judicial determination of whether Defendant has performed, and are
18   performing, their statutory and contractual privacy practices and obligations
19   necessary to protect and safeguard Plaintiff’s and New York Subclass Members’
20   Private Information from further unauthorized, access, use, and disclosure, or
21   insecure disposal.
22            425. A judicial determination of the rights and responsibilities of the parties
23   over Defendant’s privacy practices is necessary and appropriate at this time so that:
24   (1) that the rights of the Plaintiff and the New York Subclass Members may be
25   determined with certainty for purposes of resolving this action; and (2) so that the
26   Parties will have an understanding of Defendant’s obligations in the future given its
27   continuing legal obligations and ongoing relationships with Plaintiffs and New York
28   Subclass Members.

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 1                                      COUNT XIV
                                      Declaratory Relief
 2                                     28 U.S.C. § 2201
 3         426. Plaintiffs reallege each and every allegation contained above and
 4   incorporates by reference all other paragraphs of this Complaint as if fully set forth
 5   herein.
 6         427. Plaintiffs bring this claim on behalf of the Class, or in the alternative,
 7   the Colorado, California and New York Subclasses.
 8         428. An actual controversy has arisen and now exists between Plaintiffs and
 9   the putative Classes on the one hand, and Defendant on the other, concerning
10   Defendant’s failure to protect Plaintiffs’ and Class Members’ Private Information in
11   accordance with applicable state and federal regulations and the agreements between
12   the parties. Plaintiffs and the Class Members contend that Defendant failed to
13   maintain adequate and reasonable privacy practices to protect their Private
14   Information while on the other hand, Defendant contends they have complied with
15   applicable state and federal regulations and its agreements with Plaintiffs and Class
16   Members to protect their Private Information.
17         429. Accordingly, Plaintiffs and Class Members are entitled to seek a judicial
18   determination of whether Defendant has performed, and are performing, their
19   statutory and contractual privacy practices and obligations necessary to protect and
20   safeguard Plaintiffs’ and Class Members’ Private Information from further
21   unauthorized, access, use, and disclosure, or insecure disposal.
22         430. A judicial determination of the rights and responsibilities of the parties
23   over Defendant’s privacy practices is necessary and appropriate at this time so that:
24   (1) that the rights of the Plaintiffs and the Classes may be determined with certainty
25   for purposes of resolving this action; and (2) so that the Parties will have an
26   understanding of Defendant’s obligations in the future given its continuing legal
27   obligations and ongoing relationships with Plaintiffs and Class Members.
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  1                                  PRAYER FOR RELIEF
  2         WHEREFORE, Plaintiffs, on behalf of themselves and on behalf of the
  3   Classes, prays for relief as follows:
  4         A.     For an Order certifying this case as a class action pursuant to Federal
  5                Rule of Civil Procedure 23 against Defendant, appointing Plaintiffs as
  6                Class Representative of the Class and/or Subclasses;
  7         B.     Awarding monetary, punitive and actual damages and/or restitution, as
  8                appropriate;
  9         C.     Awarding declaratory and injunctive relief as permitted by law or equity
 10                to assure that the Classes have an effective remedy, including enjoining
 11                Defendant from continuing the unlawful practices as set forth above;
 12         D.     Prejudgment interest to the extent allowed by the law;
 13         E.     Awarding all costs, experts’ fees and attorneys’ fees, expenses and costs
 14                of prosecuting this action; and
 15         F.     Such other and further relief as the Court may deem just and proper.
 16                                  JURY TRIAL DEMAND
 17         Plaintiffs demand a trial by jury on all issues so triable.
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